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                                                                 US DISTRICT COURT
                    IN THE UNITED STATES DISTRICT COURT        WESTERN DIST ARKANSAS
                   FOR THE WESTERN DISTRICT OF ARKANSAS                FILED
                                                                    10/20/2020
                                           §
COMMODITY FUTURES TRADING                  §
COMMISSION, and                            §
                                           §
ALABAMA SECURITIES COMMISSION, STATE       §
OF ALASKA, ARIZONA CORPORATION             §         MISC. ACTION NO.
COMMISSION, CALIFORNIA COMMISSIONER        §             20-mc-0014
OF BUSINESS OVERSIGHT, COLORADO            §
SECURITIES COMMISSIONER, STATE OF          §
DELAWARE, STATE OF FLORIDA, OFFICE OF      §
THE ATTORNEY GENERAL, STATE OF             §
FLORIDA, OFFICE OF FINANCIAL               §
REGULATION, OFFICE OF FINANCIAL            §
REGULATION, OFFICE OF THE GEORGIA          §
SECRETARY OF STATE, STATE OF HAWAII,       §
SECURITES ENFORCEMENT BRANCH, IDAHO        §
DEPARTMENT OF FINANCE, INDIANA             §
SECURITIES COMMISSIONER, IOWA              §
INSURANCE COMMISSIONER DOUGLAS M.          §
OMMEN, OFFICE OF THE KANSAS SECURITIES     §
COMMISSIONER, KENTUCKY DEPARTMENT          §
OF FINANCIAL INSTITUTIONS, MAIN            §
SECURITIES ADMINISTRATOR, STATE OF         §
MARYLAND EX REL MARYLAND SECURITIES        §
COMMISSIONER, ATTORNEY GENERAL DANA        §
NESSEL ON BEHALF OF THE PEOPLE OF          §
MICHIGAN, MISSISSIPPI SECRETARY OF         §
STATE, NEBRAKA DEPARTMENT OF BANKING       §
& FINANCE, OFFICE OF THE NEVADA            §
SECRETARY OF STATE, NEW MEXICO             §
SECURITIES DIVISION, THE PEOPLE OF THE     §
STATE OF NEW YORK BY LETITIA JAMES,        §
ATTORNEY GENERAL OF THE STATE OF NEW       §
YORK, OKLAHOMA DEPARTMENT OF               §
SECURITIES, SOUTH CAROLINA ATTORNEY        §
GENERAL, SOUTH CAROLINA SECRETARY OF       §
STATE, SOUTH DAKOTA DEPARTMENT OF          §
LABOR & REGULATION, DIVISION OF            §
INSURANCE, COMMISSIONER OF THE             §
TENNESSEE DEPARTMENT OF COMMERCE           §
AND INSURANCE, STATE OF TEXAS,             §
WASHINGTON STATE DEPARTMENT OF             §
FINANCIAL INSTITUTIONS, WEST VIRGINIA      §



Notice of Appointment of Receiver                                      Page 1
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SECURITIES COMMISSION, AND STATE OF                    §
WISCONSIN                                              §
                                                       §
                     Plaintiffs,                       §
                                                       §
v.                                                     §
                                                       §
TMTE, INC. a/k/a METALS.COM, CHASE                     §
METALS, INC., CHASE METALS, LLC, BARRICK               §
CAPITAL, INC., LUCAS THOMAS ERB a/k/a                  §
LUCAS ASHER a/k/a LUKE ASHER, and SIMON                §
BATASHVILI,                                            §
                                                       §
                     Defendants,                       §
                                                       §
and                                                    §
                                                       §
TOWER EQUITY, LLC,                                     §
                                                       §
Relief Defendant.                                      §
                                                       §

                      NOTICE OF APPOINTMENT OF RECEIVER

       Pursuant to the provisions of 28 U.S.C. § 754, Kelly Crawford provides notice of his

appointment as Temporary Receiver for TMTE, Inc. a/k/a Metals.com, Chase Metals, Inc.,

Chase Metals, LLC, Barrick Capital, Inc., Lucas Thomas Erb a/k/a Lucas Asher a/k/a Luke

Asher, Simon Batashvili (collectively, “Defendants”), Tower Equity, LLC (“Relief Defendant”),

and the affiliates or subsidiaries owned or controlled by Defendants or Relief Defendant. True

and correct copies of the Complaint filed by the Plaintiffs, Commodity Futures Trading

Commission, et al.; the Consent Order of Preliminary Injunction and Other Equitable Relief

Against Defendants Lucas Thomas Erb a/k/a Lucas Asher a/k/a Luke Asher and Simon

Batashvili; and the Consent order of Preliminary Injunction and Other Equitable Relief Against

Defendants TMTE, Inc. a/k/a Metals.com, Chase metals, Inc., Chase metals, LLC, Barrick




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Capital, Inc., Lucas and Relief Defendant Tower Equity, LLC are attached hereto as Exhibit A,

Exhibit B and Exhibit C respectively.

October 19, 2020

                                                 Respectfully submitted,


                                                 /s/ KellyM. Crawford
                                                 Kelly M. Crawford
                                                 Texas State Bar No. 05030700
                                                 Kelly.Crawford@solidcounsel.com

                                                  Scheef & Stone, L.L.P
                                                  500 N. Akard Street, Suite 2700
                                                  Dallas, Texas 75201
                                                  (214) 706-4200 – Telephone
                                                  (214) 706-4242 – Telecopier




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                        EXHIBIT A
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SOUTH DAKOTA DEPARTMENT OF
LABOR & REGULATION, DIVISION OF
INSURANCE, COMMISSIONER OF THE
TENNESSEE DEPARTMENT OF
COMMERCE AND INSURANCE, STATE
OF TEXAS, WASHINGTON STATE
DEPARTMENT OF FINANCIAL
INSTITUTIONS, WEST VIRGINIA
SECURITIES COMMISSION, AND STATE
OF WISCONSIN.

Plaintiffs,

v.

TMTE, INC. a/k/a METALS.COM, CHASE
METALS, INC., CHASE METALS, LLC,
BARRICK CAPITAL, INC., LUCAS
THOMAS ERB a/k/a LUCAS ASHER a/k/a
LUKE ASHER, and SIMON BATASHVILI,

Defendants;

and

TOWER EQUITY, LLC,

Relief Defendant.


       Plaintiffs Commodity Futures Trading Commission (“CFTC” or “Commission”),

Alabama Securities Commission (“State of Alabama”), State of Alaska (“State of Alaska”),

Arizona Corporation Commission (“State of Arizona”), California Commissioner of Business

Oversight (“State of California”), Colorado Securities Commissioner (“State of Colorado”), State

of Delaware (“State of Delaware”), State of Florida, Office of the Attorney General and State of

Florida, Office of Financial Regulation (collectively “State of Florida”), Office of the Georgia

Secretary of State (“State of Georgia”), State of Hawaii, Securities Enforcement Branch (State of
                                                 2
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Hawaii”), Idaho Department of Finance (“State of Idaho”), Indiana Securities Commissioner

(“State of Indiana”), Iowa Insurance Commissioner Douglas M. Ommen (“State of Iowa”),

Office of the Kansas Securities Commissioner (“State of Kansas”), Kentucky Department of

Financial Institutions (“Commonwealth of Kentucky”), Maine Securities Administrator (“State

of Maine”), State of Maryland Ex Rel the Maryland Securities Commissioner (“State of

Maryland”), Attorney General Dana Nessel on Behalf of the People of Michigan (“People of

Michigan”), Mississippi Secretary of State (“State of Mississippi”), Nebraska Department of

Banking & Finance (“State of Nebraska”), Office of the Nevada Secretary of State (“State of

Nevada”), New Mexico Securities Division (“State of New Mexico”), The People of the State of

New York by Letitia James, Attorney General of the State of New York (“State of New York”),

Oklahoma Department of Securities (“State of Oklahoma”), South Carolina Attorney General

and South Carolina Secretary of State (“State of South Carolina”) South Dakota Department of

Labor & Regulation, Division of Insurance (“State of South Dakota”), Commissioner of the

Tennessee Department of Commerce and Insurance (“State of Tennessee”), State of Texas

(“State of Texas”), Washington State Department of Financial Institutions (“State of

Washington”), West Virginia Securities Commission (“State of West Virginia”), and State of

Wisconsin (“State of Wisconsin”) (collectively “the States”), by and through their undersigned

attorneys, hereby allege as follows:

                                       I.   SUMMARY

       1.      From at least September 1, 2017 through the present (“Relevant Period”),

Defendants TMTE, Inc., d/b/a Metals.com, Chase Metals, LLC, Chase Metals, Inc., (collectively

“Metals”), Barrick Capital, Inc. (“Barrick”) and their principals, Lucas Asher a/k/a Lucas
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Thomas Erb a/k/a Luke Asher (“Asher”), and Simon Batashvili (“Batashvili”) (collectively

“Defendants”) have engaged and continue to engage in a fraudulent scheme to defraud at least

1,600 persons throughout the United States into purchasing gold and silver bullion (“Precious

Metals Bullion”).

       2.      Metals and Barrick are a common enterprise. Batashvili and Asher used both

Metals and Barrick to perpetuate the fraudulent scheme.

       3.      Defendants targeted a vulnerable population of mostly elderly or retirement-aged

persons with little experience in Precious Metals Bullion. By making material misrepresentations

and omissions, Defendants deceived investors into purchasing Precious Metals Bullion at prices

averaging from 100% to over 300% over the base melt value or spot price of the Precious Metals

Bullion (“Prevailing Market Price”).

       4.      Defendants’ scam is particularly egregious because they preyed on persons

between 60 and 90 years of age and swindled them out of their retirement funds by charging

them fraudulent prices to purchase Precious Metals Bullion.

       5.      Defendants deceived at least 1,300 elderly investors into transferring funds from

their retirement savings, including funds from liquidating securities, to self-directed individual

retirement accounts (“SDIRAs”) to purchase Precious Metals Bullion. Defendants deceived

elderly investors into investing in Precious Metals Bullion by misrepresenting the operation,

risks, and safety of investors’ retirement savings. Defendants also fraudulently induced by

telephone over 300 elderly and retirement-aged investors to purchase Precious Metals Bullion

with cash or credit (“Cash Account”).

       6.      Defendants directed SDIRA and Cash Account investors to purchase specific
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Precious Metals Bullion at grossly inflated prices that bore no relationship to the Prevailing

Market Price. Defendants did not disclose the actual value of the Precious Metals Bullion and

instead provided investors with invoices showing exorbitant and unreasonable prices.

       7.      Metals provided investors with customer agreements and failed to disclose that

what it charged investors vastly exceeded what Metals represented to investors. In fact, none of

the actual charges on Metals’ fraudulently overpriced Precious Metals Bullion fell within the

substantially lower range of charges represented to investors.

       8.      Defendants falsely represented that Precious Metals Bullion were a safe and

conservative investment and that investors would not lose their funds. Contrary to these

representations, Defendants failed to disclose to SDIRA and Cash Account investors that their

undisclosed, excessive, and unreasonable charges resulted in investors suffering substantial

losses on the purchase of Precious Metals Bullion from Defendants.

       9.      Contrary to Defendants’ material misrepresentations and omissions, Defendants

knew or had a reckless disregard for the truth that virtually every one of their SDIRA and Cash

Account investors during the Relevant Period lost the majority of the funds invested in

fraudulently overpriced Precious Metals Bullion.

       10.     Defendants perpetuated their fraudulent scheme by making additional

misrepresentations and omissions to SDIRA and Cash Account investors who purchased

Precious Metals Bullion. Defendants falsely told investors who questioned the grossly inflated

cost of the Precious Metals Bullion after purchase that the Precious Metals Bullion were

exclusive and collectible numismatic or semi-numismatic precious metals that carried a premium

far above the base melt value of the Precious Metals Bullion. These statements were false
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because the Precious Metals Bullion were not numismatic or semi-numismatic precious metals.

The Precious Metals Bullion were worth significantly less than the value Defendants

misrepresented to investors because it carried no additional premium over the Prevailing Market

Price.

         11.      As a result of their fraudulent scheme, Defendants have solicited and received

over $140 million in retirement savings, and over $45 million in Cash Accounts. All of the

investors’ funds were deposited into bank accounts owned and controlled by the Defendants.

Defendants defrauded investors into using over ninety percent of the received funds to purchase

fraudulently overpriced Precious Metals Bullion.

         12.      During the Relevant Period, Asher and Batashvili committed the acts and/or

omissions alleged herein both in their individual capacity, and also within the course and scope

of their employment, agency, or office with Metals and Barrick. Metals and Barrick are therefore

liable under Section 2(a)(1)(B) of the Commodity Exchange Act (“CEA”), 7 U.S.C. § 2(a)(1)(B)

(2018), and CFTC Regulation 1.2, 17 C.F.R. § 1.2 (2019), as principals for Asher’s and

Batashvili’s violations of the CEA, CFTC Regulations, and the laws of the various States as

alleged herein.

         13.      Accordingly, pursuant to Sections 6c and 6d(1) of the CEA, 7 U.S.C. § 13a-1

(2018) and 7 U.S.C. § 13a-2(1) (2018), the CFTC and States bring this action to enjoin

Defendants’ unlawful acts and practices, to compel their compliance with the CEA, CFTC

Regulations, and State law, and to enjoin them from engaging in any commodity-related activity,

as set forth below. In addition, Plaintiffs seek civil monetary penalties for each violation of the

CEA, CFTC Regulations, and State law and remedial ancillary relief, including, but not limited
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to, trading and registration bans, restitution, disgorgement, rescission, pre- and post-judgment

interest, and such other relief as the Court may deem necessary and appropriate. Plaintiffs also

request that the Court order Relief Defendant Tower Equity, LLC to disgorge funds that it

received from Defendant’s illegal activities and in which it has no legitimate interest.

       14.     By virtue of this conduct, and as more fully set forth below, Defendants have

engaged, are engaging, and/or are about to engage in violations of the anti-fraud provisions of

the CEA, Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1) (2018), and CFTC Regulation 180.1(a)(1)-

(3), 17 C.F.R. § 180.1(a)(1)-(3) (2019), and the laws of the States.

       15.     Unless restrained and enjoined by the Court, Defendants are likely to continue

engaging in the acts and practices alleged in this Complaint or in similar acts and practices, and

funds they have obtained fraudulently may be misappropriated or otherwise dissipated.

                            II. JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

(2018) (federal question jurisdiction) and 28 U.S.C. § 1345 (2018) (district courts have original

jurisdiction over civil actions commenced by the United States or by any agency expressly

authorized to sue by Act of Congress). Section 6c(a) of the CEA, 7 U.S.C. § 13a-1(a) (2018),

authorizes the CFTC to seek injunctive and other relief against any person whenever it appears to

the CFTC that such person has engaged, is engaging, or is about to engage in any act or practice

constituting a violation of any provision of the CEA or any rule, regulation, or order thereunder.

       17.     Section 6d(1) of the CEA, 7 U.S.C. § 13a-2(1) (2018), authorizes the States to

bring a suit in the district courts of the United States to seek injunctive and other relief against

any person whenever it appears to the Attorney General and/or Securities Administrator of a
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State, or such other official that a State may designate, that the interests of the residents of the

State have been, are being, or may be threatened or adversely affected because of violations of

the CEA or CFTC Regulations. The acts and omissions in violation of the CEA occurred within

each and every one of the States. Investors from each and every one of the States were materially

and substantially harmed by Defendants’ violations of the CEA.

       18.     This Court has supplemental and pendant jurisdiction over the State-law claims of

the States pursuant to 28 U.S.C. § 1367(a) (2018).

       19.     Defendants engaged in the acts and practices described in this Complaint using

instrumentalities of interstate commerce, including but not limited to: the use of interstate wires

for transfer of funds, U.S. mail, checks, websites, and other interstate electronic communication

devices.

       20.     Venue lies properly in this District pursuant to Section 6c(e) of the CEA, 7 U.S.C.

§ 13a-1(e) (2018), because Defendants transacted business in this District, and certain of the acts

and practices in violation of the CEA, the CFTC Regulations, and State laws occurred, are

occurring, or are about to occur within this District, among other places. Venue also lies properly

in this District pursuant to 17 U.S.C. § 1391(b)(2) because a substantial part of the events or

omissions giving rise to the Plaintiffs’ claims occurred in this District.

                                            III. PARTIES

       21.     Plaintiff Commodity Futures Trading Commission is an independent federal

regulatory agency that is charged by Congress with the administration and enforcement of the

CEA and the CFTC Regulations promulgated thereunder.

       22.     Plaintiff States are authorized under Section 6d(1) of the CEA, 7 U.S.C. § 13a-
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2(1) (2018), and their respective State laws, to bring this action on behalf of their State and their

citizens to enforce the CEA and CFTC Regulations.

       23.     Plaintiffs State of Alabama, State of Alaska, State of California, State of

Colorado, State of Florida, State of Georgia, Commonwealth of Kentucky, State of Maryland,

State of South Carolina, and State of Texas are authorized under their respective State laws, to

bring their State law claims on behalf of their State and their citizens to enforce State laws.

        24.     Defendant TMTE, Inc., d/b/a Metals.com is a Wyoming corporation with its

headquarters at 1712 Pioneer Avenue, Suite 2145, Cheyenne, Wyoming. TMTE, Inc. uses or has

used the business names Metals.com, Chase Metals, LLC, and Chase Metals, Inc. TMTE has a

place of business at 433 N. Camden Drive, Suite 970, Beverly Hills, California and 8383

Wilshire Blvd Suite 700 Beverly Hills, California. TMTE was originally organized as a

Wyoming limited liability corporation on April 30, 2008. It converted to a corporation on March

8, 2017, under the name Chase Metals, Inc.

       25.     Defendant Chase Metals, Inc. is a Wyoming corporation now known as TMTE,

Inc. Its headquarters are located at 1712 Pioneer Avenue, Suite 2145, Cheyenne, Wyoming, and

it has a place of business at 433 N. Camden Drive, Suite 970, Beverly Hills, California and 8383

Wilshire Blvd, Suite 700, Beverly Hills, California.

       26.     Defendant Chase Metals, LLC, is a Wyoming limited liability company converted

to a Wyoming corporation now known as TMTE, Inc. Its headquarters are located at 1712

Pioneer Avenue, Suite 2145, Cheyenne, Wyoming, and it has a place of business at 433 N.

Camden Drive, Suite 970, Beverly Hills, California and 8383 Wilshire Blvd, Suite 700, Beverly

Hills, California.
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       27.     Defendant Barrick Capital, Inc. is a Delaware corporation incorporated on August

20, 2019. It has a place of business at 8383 Wilshire Blvd., Suite 700, Beverly Hills, California.

Barrick shares common ownership, operations, employees, office space, and overnight mail

account with Metals.

       28.     Defendant Simon Batashvili holds himself out as a Founder, Chief Executive

Officer, and Principal of Metals. Batashvili is a signatory on Metals’ bank accounts, supervises

employees, and has authority to hire and fire Metals employees. Batashvili is also a Founder,

Owner, Chief Executive Officer, and Principal of Barrick. Batashvili is a signatory on Barrick’s

bank accounts, supervises employees, and has authority to hire and fire Barrick employees.

       29.     Defendant Lucas Asher a/k/a Lucas Thomas Erb a/k/a Luke Asher holds himself

out as a Founder, Owner, and Principal of Metals. Asher hires employees and supervises Metals’

sales representatives or other agents and their solicitation of current and prospective investors.

Asher controls the marketing at Metals, including having a website domain for Metals in his

name. Asher holds himself out as a Founder, Owner, and Principal of Barrick. Asher controls the

marketing at Barrick, including having a website domain for Barrick. Asher hires employees and

supervises Barrick’s sales representatives or other agents and their solicitation of current and

prospective investors.

       30.     Relief Defendant Tower Equity, LLC (“Tower Equity”) is a Wyoming limited

liability company formed in June 2013. It has a place of business at 8383 Wilshire Blvd.,

Beverly Hills, CA 90211. Tower Equity received funds from defrauded investors to which it has

no legitimate claim or interest.



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                                IV. GENERAL ALLEGATIONS

   A. Defendants Defrauded Elderly Investors into Establishing SDIRAs to Purchase
      Precious Metals Bullion

       31.     Defendants, directly and by and through their sales representatives or other

agents, targeted a vulnerable population of mostly elderly or retirement-aged persons with little

experience in Precious Metals Bullion to open SDIRAs to purchase Precious Metals Bullion.

Defendants’ solicitations targeted politically conservative and Christian investors. Defendants

instructed their sales representatives or other agents to concentrate their solicitations on these

persons to gain access to their retirement savings.

       32.     Defendants, directly and by and through their sales representatives or other

agents, instructed their sales representatives or other agents to concentrate their solicitations on

elderly or retirement-aged persons to gain access to their retirement savings, including but not

limited to, retirement savings held in tax advantaged accounts such as Individual Retirement

Accounts; employer sponsored 401(k) and 457(b) plans; Thrift Savings Plans; life insurance;

annuities; money market accounts; and other long-term retirement savings vehicles (“Qualified

Retirement Savings”).

       33.     Asher and Batashvili each directed the sales representatives or other agents to

employ solicitations designed to instill fear in elderly and retirement aged investors and build

trust with investors based on representations of political and religious affinity.

       34.     Defendants placed their advertisements on conservative media and websites.

       35.     Asher and Batashvili falsely claimed they were friends with a conservative

television and radio personality and that the personality recommended buying Precious Metals


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Bullion, despite receiving a cease and desist demand from this media personality to stop touting

this purported affiliation.

        36.     Defendants, directly and by and through their sales representatives or other

agents, directed investors to open SDIRAs and to transfer funds from their Qualified Retirement

Savings to the newly established SDIRAs.

        37.     Defendants, directly and by and through their sales representatives or other

agents, engaged in the business of advising investors to liquidate preexisting Qualified

Retirement Savings, including liquidating securities, and transferring those funds to a SDIRA in

order to purchase Precious Metals Bullion.

        38.     Defendants, directly and by and through their sales representatives or other

agents, solicited investors through telephonic solicitations, social media solicitations, and

through their websites, http://www.metals.com and http://barrickcapital.com.

        39.     During the Relevant Period, Defendants, directly and by and through their sales

representatives or other agents, directed at least 1,300 investors to open SDIRAs. These SDIRAs

were mostly opened by persons between the ages of sixty and ninety.

        40.     Metals, directly and by and through its sales representatives or other agents,

defrauded persons into opening SDIRAs and transferring Qualified Retirement Savings to those

accounts by making material misrepresentations and omissions intended to instill fear in the

investors including, but not limited to:

                    a. Misrepresenting that the United States government was going to take
                       Qualified Retirement Savings funds in a “Bail-in” to help banks and
                       government programs;

                    b. Misrepresenting that IRA custodians are in financial trouble and are likely

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                       to collapse;

                   c. Misrepresenting that it is unclear who actually owns the underlying
                      securities in IRA accounts; and

                   d. Misrepresenting that the government could seize funds held in Qualified
                      Retirement Savings but could not seize Precious Metals Bullion held in
                      SDIRAs.

       41.     A large majority of the funds in the SDIRAs were transfers of funds from

preexisting Qualified Retirement Savings. During the Relevant Period, Defendants directed

investors to use over $140 million from SDIRAs to purchase fraudulently overpriced Precious

Metals Bullion.

       42.     During the Relevant Period, Defendants instructed investors to send

approximately $5 million to Relief Defendant Tower Equity. Between November 2018 and July

2019, Metals sales representatives or other agents directed at least 11 investors to send funds, by

check or wire transfer, to the Tower Equity bank account at Bank of America to purchase

Precious Metals Bullion from Metals. Tower Equity has no legitimate claim or interest to the

funds that it received as a result of the Defendants’ fraudulent conduct.

   B. Metals Defrauded Elderly Investors to Buy Overpriced Polar Bear Bullion That
      Bore No Relationship to The Prevailing Market Price

       43.     Metals, Asher, and Batashvili, directly and by and through their sales

representatives or other agents, solicited investors and sold them gold and silver Precious Metals

Bullion at fraudulently inflated prices over the Prevailing Market Price.

       44.     Silver and gold precious metals are statutorily-defined commodities under Section

1a(9) of the Act, 7 U.S.C. § 1a(9) (2018).

       45.     The term “bullion” refers to precious metals in the form of bars, ingots, or coins

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in which the value is typically determined by the value of the precious metal content.

       46.     Metals, Asher, and Batashvili, directly and by and through their sales

representatives or other agents, fraudulently solicited and sold Precious Metals Bullion in the

form of the following three gold and silver bullion coins (collectively “Polar Bear Bullion”):

                   a. The 1/2 ounce Silver Royal Canadian Mint Polar Bear Bullion;

                   b. The 1/10 ounce Gold Royal Canadian Mint Polar Bear Bullion; and

                   c. The 1/4 ounce Gold British Standard Bullion.

       47.     The actual value of Polar Bear Bullion is the Prevailing Market Price of the gold

and silver precious metal contained in the Precious Metals Bullion coins.

       48.     Metals, directly and by and through their sales representatives or other agents,

failed to disclose the markup charged to customers over the Prevailing Market Price

(“Markups”).

       49.     Metals, directly and by and through their sales representatives or other agents,

charged investors undisclosed excessive Markups on Polar Bear Bullion that bore no reasonable

relation to the Prevailing Market Price.

       50.     Metals, directly and by and through their sales representatives or other agents,

failure to disclose unreasonable and excessive Markups on Polar Bear Bullion is a material

undisclosed fact which prevented investors from making an informed decision on purchasing

Polar Bear Bullion.

       51.     Metals, directly and by and through their sales representatives or other agents,

failed to disclose to SDIRA and Cash Account investors that the fraudulently over-priced Polar

Bear Bullion at the time of purchase averaged:

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                   a. 213% for 1/2 ounce Silver Royal Canadian Mint Polar Bear Bullion over
                      the Prevailing Market Price of silver bullion;

                   b. 120% for 1/10 ounce Gold Royal Canadian Mint Polar Bear Bullion over
                      the Prevailing Market Price of gold bullion;

                   c. 116% for 1/4 ounce Gold British Standard Bullion over the Prevailing
                      Market Price of gold bullion; and

                   d. 21% for all other Precious Metals Bullion over the Prevailing Market
                      Price of the bullion.

       52.     During the Relevant Period, Metals fraudulently sold to SDIRA and Cash

Account investors:

                   a. At least 4.1 million units of 1/2 ounce Silver Royal Canadian Mint Polar
                      Bear Bullion for over $102.4 million;

                   b. At least 106,123 units of 1/10 ounce Gold Royal Canadian Mint Polar
                      Bear Bullion for over $31.2 million; and

                   c. At least 34,120 units of 1/4 ounce Gold British Standard Bullion for over
                      $24 million.

       53.     During the Relevant Period, the percentages of Precious Metals Bullion sold to

SDIRA and Cash Account investors by telephone by Metals were approximately:

                   a. 58% of sales were 1/2 ounce Silver Royal Canadian Mint Polar Bear
                      Bullion;

                   b. 17% of sales were 1/10 Gold Royal Canadian Mint Polar Bear Bullion;

                   c. 13% of sales were 1/4 ounce Gold British Standard Bullion; and

                   d. 10% of sales were every other type of bullion sold by Metals to investors.

       54.     During the Relevant Period, Metals, directly and by and through its sales

representatives or other agents, specifically selected and directed elderly and/or retirement-aged

SDIRA and Cash Account investors to purchase fraudulently priced Polar Bear Bullion.

       55.     As part of the scheme to defraud, Metals, directly and by and through its sales
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representatives or other agents, directed investors to use Qualified Retirement Savings in their

SDIRAs and funds in their Cash Accounts to purchase fraudulently priced Polar Bear Bullion.

       56.     During the Relevant Period, over 90% of the total amount of investors’ funds

solicited and received by Metals from investors was used to buy Polar Bear Bullion.

   C. Metals Made Material Misrepresentations and Omissions Resulting in Substantial
      Investor Losses

       57.     Metals, directly and by and through its sales representatives or other agents, failed

to disclose to SDIRA and Cash Account investors that the undisclosed, excessive, and

unreasonable Markups over the Prevailing Market Price on Polar Bear Bullion resulted in

substantial investor losses.

       58.     Metals, directly and by and through its sales representatives or other agents,

misrepresented that Precious Metals Bullion were safe and conservative investments and that

investors would not lose their funds. For example, Metals, directly and by and through its sales

representatives or other agents:

               a. Misrepresented to Alaska Investor #1, Alabama Investor #1, Alabama
                  Investor #2, California Investor #3, California Investor #5, Colorado Investor
                  #7, Georgia Investor #1, Maryland Investor #1, South Carolina Investor #1,
                  Texas Investor #1, and Texas Investor #4 that Precious Metals Bullion were
                  safe and secure investments, and safer than Qualified Retirement Savings.

               b. Misrepresented to Alaska Investor #1, Alabama Investor #1, California
                  Investor #1, Georgia Investor #2, Kentucky Investor #1, Maryland Investor
                  #6, South Carolina Investor #2, and Texas Investor #2 that investors would
                  not lose their funds invested in Precious Metals Bullion; and

               c. Misrepresented to Alaska Investor #1, Alabama Investor #1, Alabama
                  Investor #2, California Investor #1, Colorado Investor #2, Georgia Investor
                  #1, Maryland Investor #3, South Carolina Investor #1, and Texas Investor #4
                  that Precious Metals Bullion were a low risk investment.

       59.     Contrary to Metals’ misrepresentations and omissions, Metals knew or had a
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reckless disregard for the truth that virtually all of its SDIRA and Cash Account investors lost the

majority of their funds invested in Polar Bear Bullion.

           60.   Metals knew or had a reckless disregard for the truth that investors suffered large

losses on Polar Bear Bullion. Instead, Metals continued to misrepresent to prospective and

current SDIRA and Cash Account investors that Precious Metals Bullion were a safe and

conservative investment and that investors would not lose their funds.

           61.   Metals failed to disclose to its SDIRA and Cash Account investors that the

fraudulently overpriced Polar Bear Bullion materially impacted their ability to profit and the risk

of loss.

           62.   Metals failed to disclose to its SDIRA and Cash Account investors that an

investor’s ability to profit and not sustain a loss on the fraudulently overpriced Polar Bear

Bullion was dependent on the Prevailing Market Price appreciating significantly above historical

all-time high prices and selling their Precious Metals Bullion could incur additional transaction

costs.

           63.   Metals knew or had a reckless disregard for the truth that because of Metals’

undisclosed, fraudulent, and exorbitant Markups on Polar Bear Bullion, most investors lost the

majority of their investment funds immediately upon consummating the transaction. It is a

material fact to an investor who is making an investment decision that he or she will lose the

majority of their funds immediately upon consummating a transaction.

    D. Metals Fraudulently Charged Undisclosed Spreads on Polar Bear Bullion That
       Vastly Exceeded the Spread Represented in Customer Agreements

           64.   During the relevant period, Metals executed with investors a shipping and


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transaction agreement (“Customer Agreement #1”) for the purchase of Precious Metals Bullion.

       65.     Customer Agreement #1 contains terms and conditions of the sale of Precious

Metals Bullion. Customer Agreement #1 states, in pertinent part, that:

                  a. “Spread on IRA Precious Metals transaction varies between two percent
                     and thirty-three percent (2% to 33%). These numbers, however, are only
                     general ranges and approximations, which are subject to change for a
                     variety of reasons . . .”

                  b. “At the time this Transaction Agreement was transmitted for Customer’s
                     signature, (i) metals Spread on bullion (i.e., coins and bars that generally
                     move in tandem with the spot price for the relevant commodity) is
                     generally between one percent and five percent (1 to 5%) …”

                  c. “Metals is prohibited by law from guaranteeing to repurchase Precious
                     Metals that it sells.”

       66.     Beginning on or about June 2019 and continuing thereafter, Metals executed with

at least 190 investors a new shipping and transaction agreement (“Customer Agreement #2”) for

the purchase of Precious Metals Bullion.

       67.     Section 3(a) of both Customer Agreement #1 and Customer Agreement #2 states:

“Within the Precious Metals industry, the difference between [M]etals cost on the day of the

purchase (for the Precious Metals Customer has agreed to buy) and the retail price quoted to

Customer is known as the ‘Spread’” (herein: “Spread”).

       68.     Customer Agreement #2 was substantially similar to Customer Agreement #1,

except that it represented that the Spread Metals charged on IRA Precious Metals Bullion

transactions was significantly smaller. Customer Agreement #2 represented that the Spread on

IRA Precious Metals Bullion transaction only varies between 1% to 19.9%, rather than 2% to

33%. This is a material purported reduction in the Spread.

       69.     Though the Spread in Section 3(a) subpart (i) of Customer Agreement #2 remains
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1% to 5%, Customer Agreement #2 materially changes Section 3(a) subpart (ii) to read: “that

[M]etals’s Spread on exclusive products from the Government mint is generally between one

percent and nineteen point nine percent (1% to 19.9%). Spreads for exclusive gold and silver

products and Numismatic coins and bars are often in the range of approximately one percent and

nineteen point nine (1% to 19.9%).”

       70.     The Spread charged to investors pursuant to Customer Agreement #1 and

Customer Agreement #2 represents the difference between what Metals paid for the Precious

Metals Bullion and what they charged investors.

       71.     As part of the scheme to defraud, the Spreads on Polar Bear Bullion were

materially and exorbitantly higher than those represented in Customer Agreement #1 and

Customer Agreement #2.

       72.     Metals knew or had a reckless disregard for the truth when they represented in

Customer Agreement #1 and Customer Agreement #2 that the Spread on IRA Precious Metals

Bullion transactions varied between 2% and 33% or 1% and 19.9%. Metals knew or had a

reckless disregard for the truth that the Spreads they were charging investors on Polar Bear

Bullion vastly exceeded this range.

       73.     For Customer Agreement #1, Metals knew or had a reckless disregard for the

truth when they represented the Spread on Cash Account transactions was 1% to 5%. Metals

knew or had a reckless disregard for the truth that the Spreads that they were charging investors

on Polar Bear Bullion vastly exceeded this range.

       74.     For Customer Agreement #2, Metals knew or had a reckless disregard for the

truth when they represented the Spread on Cash Account transactions varied between 1% and
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19.9%. Metals knew or had a reckless disregard for the truth that the Spreads that they were

charging investors on Polar Bear Bullion vastly exceeded this range.

       75.     Metals, directly and by and through its sales representatives or other agents, failed

to disclose to their SDIRA and Cash Account investors the true Spread and excessive Markups

on Polar Bear Bullion that they were charging them. Instead, Metals instructed its sales

representatives and other agents to represent to investors inflated prices for Polar Bear Bullion

and provide investors with sales invoices showing exorbitant prices that had no reasonable

relation to the Prevailing Market Price.

       76.     Metals knew or had a reckless disregard for the truth that the Spread charged by

Metals to their elderly or retirement-aged SDIRA and Cash Account investors for the Polar Bear

Bullion averaged:

               a. 128% for Silver Royal Canadian Mint Polar Bear Bullion;

               b. 91% for Gold Royal Canadian Mint Polar Bear Bullion; and

               c. 108% for Gold British Standard Bullion.

       77.     Metals deceptively failed to disclose to investors the material fact that none of the

actual Spreads on Polar Bear Bullion fell within the range of Spreads represented to investors in

Customer Agreement #1 and Customer Agreement #2.




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   E. Metals Misrepresented That Polar Bear Bullion Have Numismatic or Semi-
      Numismatic Value to Deceive Investors and Conceal Defendants’ Fraud

       78.     As part of the scheme to defraud, Metals, directly and by and through their sales

representatives or other agents, fraudulently misrepresented that Polar Bear Bullion were

numismatic or semi-numismatic Precious Metals Bullion.

       79.     Numismatic Precious Metals Bullion are rare, of limited availability, and have

significant broad-based market demand and so have a value substantially more than the

Prevailing Market Price of the precious metal contained in the bullion. Semi-numismatic

Precious Metals Bullion refers to bullion that are claimed to exhibit both bullion and numismatic

traits, such that the value is derived from the precious metal content, limited circulation, and

some recognized exclusive or collectible value.

       80.     Contrary to Metals’ false claims, Polar Bear Bullion have no numismatic or semi-

numismatic value. Polar Bear Bullion are readily available to the public and are not rare. In fact,

there are over 6 million units of Polar Bear Bullion in circulation.

       81.     Metals knew or had a reckless disregard for the truth when they falsely

represented to investors that Polar Bear Bullion had numismatic or semi-numismatic value.

       82.     Investors received account statements from their SDIRA administrators showing

an account value that was significantly smaller than what Metals misrepresented to investors.

The SDIRA statements showed the accurate value of the Polar Bear Bullion based on the

Prevailing Market Price of the bullion.

       83.     Metals, directly and by and through its sales representatives or other agents,

fraudulently represented to investors that Polar Bear Bullion were worth significantly more than


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the Prevailing Market Price.

       84.     Metals, directly and by and through its sales representatives or other agents,

fraudulently represented to investors that the lower valuation on their SDIRA statements was an

under valuation that did not reflect the resale value of the Polar Bear Bullion (“Post-Purchase

Misrepresentations”). For example, Metals, directly and by and through its sales representatives

or other agents:

               a. Misrepresented to Alabama Investor #1 and South Carolina Investor #2 that
                  Polar Bear Bullion were exclusive coins and worth more than other Precious
                  Metals Bullion;

               b. Misrepresented to Alabama Investor #2, Colorado Investor #7, and Colorado
                  Investor #13, that Polar Bear Bullion were the hottest item on the market and
                  investors would make more money on Polar Bear Bullion than on other
                  Precious Metals Bullion;

               c. Misrepresented to Alabama Investor #1, Alabama Investor #2, Colorado
                  Investor #4, Colorado Investor #9, Kentucky Investor #2, Maryland Investor
                  #6, South Carolina Investor #1, and South Carolina Investor #2 that the actual
                  value of Polar Bear Bullion was higher than what the SDIRA statement
                  showed;

               d. Misrepresented to Alabama Investor #1, Alabama Investor #2, Colorado
                  Investor #4, Colorado Investor #9, Kentucky Investor #2, Maryland Investor
                  #1, Maryland Investor #4, South Carolina Investor #1, and South Carolina
                  Investor #2 that the SDIRA statements only report the melt value of the Polar
                  Bear Bullion and the melt value does not reflect the fact that Polar Bear
                  Bullion carried a premium above the base melt value of the Precious Metals
                  Bullion contained therein; and

               e. Misrepresented to Alabama Investor #1, Colorado Investor #2, South Carolina
                  Investor #1, and Maryland Investor #1 that the SDIRA statements displayed
                  the Precious Metals Bullion melt value because it provided a tax break to the
                  investor.

       85.     Metals, directly and by and through its sales representatives or other agents,

materially omitted to inform investors that the value of Polar Bear Bullion listed on SIDRA

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statements was based on the Prevailing Market Price. Metals also materially omitted to disclose

to investors that Polar Bear Bullion were worth significantly less than the value Metals

misrepresented to investors because they carry no premium over the Prevailing Market Price of

Precious Metals Bullion.

       86.     Metals, directly and by and through its sales representatives or other agents,

referred to the deception or artifice to defraud in the Post-Purchase Misrepresentations as a

“Tuck-In.” Metals, directly and by and through its sales representatives or other agents, made the

Post-Purchase Misrepresentations to placate and calm investors who were upset about the losses

shown on their SDIRA statements. In fact, Metals, knowingly or with reckless disregard for the

truth, made these misrepresentations and omissions designed to conceal their fraudulent scheme.

   F. Metals Failed to Disclose State Enforcement Actions

       87.     During the Relevant Period, Metals was subject to State enforcement actions,

including complaints, emergency actions, disciplinary proceedings, and/or cease and desist

orders (“State Orders and Complaints”) taken against Metals and various officers, employees, or

other agents by State Securities Regulators, including:

               a. The Emergency Order issued May 1, 2019 and Agreed Order and Undertaking
                  entered July 1, 2019 by the Texas State Securities Board;

               b. A Consent Cease and Desist Order entered May 16, 2019 by the Minnesota
                  Department of Commerce Commissioner

               c. A Consent Cease and Desist Order issued July 12, 2019 by the Colorado
                  Securities Commissioner;

               d. An Emergency Cease and Desist Order issued July 30, 2019 by the Georgia
                  Commissioner of Securities;

               e. A Cease and Desist Order issued August 8, 2019 by the Alabama Securities
                  Commission;
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              f. An Emergency Cease and Desist Order entered September 6, 2019 by the
                 Kentucky Department of Financial Institutions;

              g. An Order to Cease and Desist and Order to Show Cause issued November 1,
                 2019 and Consent Order entered May 26, 2020 by the Missouri Securities
                 Commissioner;

              h. An Administrative Complaint filed December 3, 2019 by the Massachusetts
                 Securities Division of the Office of the Secretary of the Commonwealth;

              i. A Cease and Desist Order entered March 9, 2020 by the Arkansas Securities
                 Commissioner;

              j. A Complaint for Summary Order filed May 26, 2020 and Summary Order to
                 Cease and Desist issued May 26, 2020 by the Nevada Securities Division of
                 the Office of the Secretary of State;

              k. A Notice of Proposed Agency Action filed June 4, 2020 and Temporary Cease
                 and Desist Order entered June 4, 2020 by the Montana State Auditor,
                 Commissioner of Securities and Insurance; and

              l. A Temporary Cease and Desist Order and Notice of Final Order issued July
                 20, 2020 by the Alaska Director of Commerce, Community, and Economic
                 Development, Division of Banking and Securities.

       88.    Metals failed to disclose to investors or prospective investors of the State Orders

and Complaints. This was a material fact to investors who were determining or agreed to do

business with Metals.

   G. Barrick and Metals are a Common Enterprise

       89.    On August 20, 2019, after States began issuing the State Orders and Complaints

in Allegation #87, Batashvili incorporated Barrick and Batashvili and Asher continued to engage

in the same fraudulent scheme that they perpetrated at Metals.

       90.    Barrick and Metals are a common enterprise with little to no distinction between

the ownership and operations of Barrick and Metals. Barrick and Metals have common

ownership and control by Asher and Batashvili. Further, many of the sales representatives and
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other employees and agents of Metals moved to Barrick and have performed the same work for

Barrick as they did at Metals. Further, Metals and Barrick operate out of the same office and

share the same overnight delivery service account.

        91.     As part of this common enterprise, Barrick paid bills and expenses on behalf of

Metals, including but not limited to, over $56,000 to pay down Metals’ March 2020 corporate

credit card bill.

    H. Barrick Made Material Misrepresentations and Omissions Resulting in Substantial
       Investor Losses on Fraudulently Overpriced Barrick Bullion

        92.     As part of the scheme to defraud, Barrick, Asher, and Batashvili, directly and by

and through their sales representatives or other agents, directed elderly SDIRA investors to

purchase the following Precious Metals Bullion in the form of the following three Precious

Metals Bullion coins at fraudulently inflated prices over the Prevailing Market Price

(“collectively “Barrick Bullion”):

                    a. 1/10 ounce Silver Spade Guinea;

                    b. 1/10 ounce Silver Britannia; and

                    c. 1/10 ounce Gold Royal Canadian Wildlife Series.

        93.     During the Relevant Period, Barrick, directly and by and through their sales

representatives or other agents, directed elderly SDIRA investors to purchase Barrick Bullion.

        94.     As part of Barrick’s scheme to defraud and Barrick’s and Metals’ common

enterprise, Barrick failed to disclose to investors that the 1/10 ounce Gold Royal Canadian

Wildlife Series was the same item sold by Metals as the 1/10 ounce Gold Royal Canadian Mint

Polar Bear Bullion.

        95.     The actual value of Barrick Bullion is the Prevailing Market Price of the Precious
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Metals Bullion contained in the bullion coins.

       96.     Barrick charged investors undisclosed excessive Markups on Barrick Bullion that

bore no reasonable relation to the Prevailing Market Price.

       97.     Barrick’s failure to disclose unreasonable and excessive Markups on Barrick

Bullion is a material undisclosed fact which prevented investors from making an informed

decision on purchasing Barrick Bullion.

       98.     Barrick, directly and by and through their sales representatives or other agents,

failed to disclose to SDIRA investors that the Markup on the fraudulently over-priced Barrick

Bullion at the time of purchase averaged:

               a. 312% for 1/10 ounce Silver Spade Guinea over the Prevailing Market Price of
                  silver bullion;

               b. 287% for 1/10 ounce Silver Britannia over the Prevailing Market Price of
                  silver bullion; and

               c. 128% for the 1/10 ounce Gold Royal Canadian Wildlife Series over the
                  Prevailing Market Price of gold bullion.

       99.     During the Relevant Period, Barrick fraudulently sold to SDIRA investors:

               a. At least 567,800 units of the 1/10 ounce Silver Spade Guinea for over $3.8
                  million;

               b. At least 93,000 units of the ounce Silver Britannia for over $611,600; and

               c. At least 17,660 units of the 1/10 ounce Gold Royal Canadian Wildlife Series
                  for over $6.59 million.

       100.    During the Relevant Period, the percentages of Precious Metals Bullion sold to

SDIRA investors by Barrick were approximately:

               a. 32.5% of sales were Silver Spade Guinea;

               b. 5% of sales were Silver Britannia;
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               c. 56% of sales were Gold Royal Canadian Wildlife; and

               d. 6% of sales were every other type of Precious Metals Bullion sold by Barrick
                  to investors.

       101.    Barrick knew or had a reckless disregard for the truth that the Spread charged by

Barrick to their elderly or retirement-aged SDIRA investors for the Barrick Bullion averaged:

               a. 114.5% for Silver Spade Guinea;

               b. 100% for Silver Britannia; and

               c. 95.7% for Gold Royal Canadian Wildlife.

       102.    During the Relevant Period, approximately 89% of the total amount of investors’

funds solicited and received by Barrick, directly and by and through its sales representatives or

other agents, from investors was used to buy Barrick Bullion.

       103.    Contrary to Barrick’s misrepresentations and omissions, Barrick knew or had a

reckless disregard for the truth that virtually all of its SDIRA investors lost the majority of their

funds invested in Barrick Bullion.

       104.    Barrick, directly and by and through their sales representatives or other agents,

failed to disclose to its SDIRA investors that the fraudulently overpriced Barrick Bullion

materially impacted their ability to profit and the risk of loss.

       105.    Barrick, directly and by and through its sales representatives or other agents,

failed to disclose to its SDIRA investors that an investor’s ability to profit and not sustain a loss

on the fraudulently overpriced Barrick Bullion was dependent on the Prevailing Market Price

appreciating significantly above historical all-time high prices and selling their Precious Metals

Bullion could incur additional transaction costs.

       106.    Barrick knew or had a reckless disregard for the truth that Barrick’s undisclosed,
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fraudulent, and exorbitant Markups on Barrick Bullion resulted in most investors losing the

majority of their investment funds immediately upon consummating the transaction. It is a

material fact to an investor who is making an investment decision that he or she will lose the

majority of their funds immediately upon consummating a transaction.

   I. Defendants Acted in the States as Unregistered Investment Advisers or Investment
      Adviser Representatives, Violated Their Fiduciary Duty, and Engaged in Fraud

       107.    The Laws of the States govern the registration of Investment Advisers (“IAs”) and

investment adviser representatives (“IARs”) (collectively, “IAs & IARs”).

       108.    The Laws of the States prohibit (1) fraud in connection with investment advisory

services, (2) fraud in connection with the offer, purchase, or sale of securities, (3) fraud in

connection with the offer, purchase, or sale of commodities, (4) unfair trade practices, and (5)

financial exploitation of the elderly.

       a. Defendants Acted in the States as Unregistered Investment Advisers or
          Investment Adviser Representatives

       109.    Defendants, directly and by and through their sales representatives or other

agents, offered and provided investment advice to investors for compensation.

       110.    Defendants, by and through their sales representatives or other agents, engaged in

the business of providing investment advice to investors in order to earn compensation from the

liquidation of investors’ Qualified Retirement Savings, some of which held securities.

       111.    Metals financially and culturally incentivized its sales representatives or other

agents to liquidate investors’ Qualified Retirement Savings and transfer as much money as

possible to a SDIRA to purchase Precious Metals Bullion.

       112.    Defendants, directly and by and through their sales representatives or other

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agents, offered and provided investment advice to investors to sell securities.

       113.    As part of the scheme to defraud, when Defendants, directly and by and through

their sales representatives or other agents, recruited a potential investor, Defendants provided

investment advice to induce the investors to liquidate their Qualified Retirement Savings, which

included securities holdings. Defendants, directly and by and through their sales representatives

or other agents, transferred those Qualified Retirement Savings into SDIRAs and assisted the

investors in doing so.

       114.    Defendants, directly and by and through their sales representatives or other

agents, sent investors electronic SDIRA transfer forms that were already filled out and ready for

investors to sign. In some cases, Defendants’ sales representatives or other agents facilitated

phone calls between an investor and the entity holding the investor’s Qualified Retirement

Savings, which included securities, to arrange the liquidation of investor’s Qualified Retirement

Savings and the transfer of their Qualified Retirement Savings into a SDIRA.

       115.    Defendants, directly and by and through its sales representatives or other agents,

provided investment advice and directed investors to purchase Precious Metals Bullion through

their SDIRAs. Batashvili selected the types of Precious Metals Bullion, including Polar Bear

Bullion, sold to investors and determined when to buy back from investors who sought to

liquidate their investments.

       116.    Metals and Barrick, directly and by and through their sales representatives or

other agents, generally designated themselves as an “interested party” on investors’ SDIRA

accounts. Defendants, through Barrick’s and Metals’ designation as an interested party, received

unlimited access to investors’ SDIRA account information.
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       117.    Defendants, directly and by and through their sales representatives or other

agents, acted as IAs & IARs, because Defendants, for compensation, engaged in the business of

advising another, directly and by or through publications or writings, to wit:

               a. Defendants, directly and by and through their sales representatives or other
                  agents, held themselves out as IAs & IARs to investors;

               b. Defendants, directly and by and through their sales representatives or other
                  agents, solicited investors and provided investment advice to investors with
                  respect to the value of securities or to the advisability of selling securities;

               c. Asher determined what advice and recommendations should be given to
                  investors by instructing Metals’ sales representatives or other agents on what
                  to tell investors to induce the investors to liquidate their Qualified Retirement
                  Savings that contained securities;

               d. Defendants, directly and by and through their sales representatives or other
                  agents, touted the advantages of Precious Metals Bullion as an alternative to
                  stocks, bonds, and the Dollar;

               e. Defendants, directly and by and through their sales representatives or other
                  agents, advised about market trends, specifically that the stock market would
                  fail or lose value;

               f. Metals, directly and by and through its sales representatives or other agents,
                  sent victims emails highlighting articles that would induce fear in the
                  investors about their preexisting Qualified Retirement Savings; and

               g. Defendants, directly and by and through their sales representatives or other
                  agents, advised and directed investors to sell securities held in Qualified
                  Retirement Savings and transfer to SDIRAs in order to purchase Precious
                  Metals Bullion, including Polar Bear Bullion and Barrick Bullion, from
                  Defendants;

               h. Defendants, directly and by and through their sales representatives or other
                  agents, provided asset allocation advice, contrary their own websites’
                  recommendations regarding the maximum percentage of Qualified Retirement
                  Savings that should be allocated to Precious Metals Bullion, specifically
                  recommending the full liquidation of Qualified Retirement Savings in order to
                  purchase Precious Metals Bullion with all of the funds transferred; and

               i. Metals, directly and by and through its sales representatives or other agents,
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                  advised investors to liquidate specific Qualified Retirement Savings or
                  specific investments that contained securities.

       118.    By way of example, Defendants, directly and by and through its sales

representatives or other agents, provided investment advice to the following investors:

               a. Alabama Investor #2 was advised by his sales representative that a stock
                  market crash was probably going to happen, so Alabama Investor #2 should
                  get out of his current investments and get into gold; the risks of investing in
                  Precious Metals Bullion were very low, and that Precious Metals Bullion
                  holds value better than investments in the stock market; Precious Metals
                  Bullion were a safe investment as compared to stocks; people buy Precious
                  Metals Bullion when the stock market goes down because Precious Metals
                  Bullion were safe, and that Alabama Investor #2 should do the same; any
                  money held in an IRA or retirement account was going to be taken or seized
                  by the Government, but an investment in Precious Metals Bullion would not
                  be taken or seized; and that Alabama Investor #2 should place all of his
                  retirement funds in Precious Metals Bullion;

               b. California Investor #1 was advised by his sales representative that the stock
                  market was due for an imminent, major crash, worse than the 2008 crash,
                  securities invested in the stock market should be sold to purchase Precious
                  Metals Bullion; Metals would pick the best distribution for growth and
                  stability with rock solid value and stability, and investing in Precious Metals
                  Bullion would result in California Investor #1 earning money, not losing it;

               c. California Investor #6 was advised by her sales representatives that it was
                  important to transfer her money from securities to Precious Metals Bullion
                  and imperative that she learned the truth about why her current account
                  structure in the securities markets was dangerous to her financial future;

               d. Colorado Investor #4 was advised by their sales representative that Precious
                  Metals Bullion were a good investment considering the economy and that if
                  they stayed in a traditional retirement account they would be at risk of a “buy-
                  in.” Colorado Investor #4 was told that a “buy-in” meant the government
                  would nationalize 401(k)’s, if there was another financial crisis, to bail out
                  financial institutions. In addition, the Metals sales representative held himself
                  out as an IAR by calling Colorado Investor #4's custodian and stating to the
                  custodian that Metals and the Custodian had a "mutual client on the line."

               e. Maryland Investor #4 explained to Metals representatives that he was
                  unsatisfied with his Qualified Retirement Savings, needed a return at or better
                  than the stock market, could not afford to lose money, and needed access to
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              his account if his financial situation worsened. Maryland Investor #4 noted
              that he was not a businessperson or a stockbroker and would have to depend
              on Metals as experts to advise. Metals advised Maryland Investor #4:

                   i. Precious Metals Bullion were better than stock, and would get a
                      greater rate;

                  ii. The tax value of Precious Metals Bullion was better than Qualified
                      Retirement Savings, that the face value of the coins was the tax value,
                      and he would get more money when selling;

                 iii. That “[w]e recommend you move your qualified funds in one self-
                      directed IRA trust account that is non-leveraged, has minimal/lower
                      fees, and allows all IRS approved investment options.”

           f. Maryland Investor #5 was advised Metals expected a large upswing in the
              Precious Metals Bullion market, and that something around $300,000 in
              Precious Metals Bullion could be worth as much as $1.2 million in ten years,
              but that he could lose everything in the stock market. Metals concluded to
              Maryland Investor #5 that based on the volatility of the market, the sound
              investment was Precious Metals Bullion;

           g. Maryland Investor #8 was advised by a Barrick representative who, claiming
              years of experience in the stock market, represented it would be wise to invest
              in gold as the stock market continued to fall, gold would climb to $3,000/oz,
              and there was no risk in converting securities to Precious Metals Bullion;

           h. Maryland Investor #9 was advised by a Metals representative who, claiming
              to be experienced in the financial industry, represented the Federal Reserve
              was unstable, that when the Federal Reserve went down, Precious Metals
              Bullion went up, and thus Precious Metals Bullion were more stable and
              secure than Qualified Retirement Savings;

           i. South Carolina Investor #1 was advised by a Metals “Senior Portfolio
              Manager” that she needed to liquidate her investments in the stock market
              because it was about to collapse because of the chaos in the markets and that
              gold was a safe investment;

           j. South Carolina Investor #2 was advised that stocks were not safe and that he
              needed to buy precious metals right away;

           k. Texas Investor #2 was advised Polar Bear Bullion were safer than keeping his
              Qualified Retirement Savings in securities. He was told his investment would
              double in 4 years if he instead invested in Polar Bear Bullion. Metals’ sales

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                   representative persuaded Texas Investor #2 to invest approximately $289,000
                   instead of the approximately $50,000 he originally intended to invest in
                   Precious Metals Bullion

               l. Texas Investor #3 was advised to transfer her Qualified Retirement Savings to
                  a SDIRA to invest in Polar Bear Bullion. She had no knowledge of Precious
                  Metals Bullion but trusted Metals’ sales representative because he built a
                  rapport with her by discussing the market for Precious Metals Bullion, the
                  outlook for her Qualified Retirement Savings, and built up his expertise and
                  their relationship over approximately a year and a half

               m. Texas Investor #4 was advised he should protect his savings by liquidating his
                  Qualified Retirement Savings, rolling the funds into a SDIRA, and purchasing
                  Polar Bear Bullion. He was told Precious Metals Bullion were more stable and
                  secure and a better investment than the stocks in this Qualified Retirement
                  Savings. Texas Investor #4 was persuaded to liquidate his entire Qualified
                  Retirement Savings account to buy Precious Metals Bullion instead of the
                  approximately $50,000 he initially intended to invest in Precious Metals
                  Bullion. After he purchased Polar Bear Bullion, Metals’ sales representative
                  advised against selling some of the Precious Metals Bullion to buy a particular
                  stock.

       119.    Metals and Barrick have never been registered as IAs, nor have their agents or

Asher or Batashvili been registered as IARs required under state and/or federal law. Defendants

or their agents never submitted a notice filing with the appropriate State regulator as an IA or

IAR, nor are they exempt from State registration as an IA or IAR.

       b. As Investment Advisers or Investment Adviser Representatives, Defendants
          Violated Their Fiduciary Duty to Investors and Engaged in Fraud

       120.    Defendants acted as IAs & IARs. IAs & IARs have a fiduciary duty to their

clients. By acting as IAs & IARs, Defendants have a duty to their clients beyond the general

prohibition on fraud arising from the CEA.

       121.    The fiduciary duty requires IAs & IARs to act primarily for the benefit of their

clients. At a minimum, to avoid violating their fiduciary duty, IAs & IARs:

               a. Must avoid conflicts of interest with investors;
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               b. Must have reasonable grounds that their recommendations to investors are
                  suitable based on a reasonable inquiry concerning the investor’s investment
                  objectives, financial situation and needs, and any other information known or
                  acquired by the investment adviser after reasonable examination of the
                  investor’s finances;

               c. May not charge unreasonable fees;

               d. Must disclose material facts to the investors, including conflicts of interest;
                  and

               e. May not make material misrepresentations or omissions to investors;

       122.    Defendants violated their fiduciary duty to investors by making recommendations

where they have a conflict of interest with their clients, making unsuitable recommendations,

charging unreasonable fees, failing to disclose conflicts of interest, including those related to

how Defendants and their sales representatives or other agents were paid, and making material

misrepresentations or omissions to investors.

       123.    Regarding suitability, Defendants engaged in fraud and violated their fiduciary

duty through conduct including, but not limited to, the following:

               a. Defendants targeted primarily senior and retirement-age investors with scare
                  tactics to instill the fear that investors’ Qualified Retirement Savings,
                  including securities, were imperiled by government action or market forces;

               b. Defendants failed to make reasonable inquiry into, or take consideration of,
                  investors’ investment objectives, financial situation and needs, or station in
                  life when advising investors to liquidate their Qualified Retirement Savings;

               c. Defendants used information gathered about investors’ circumstances to
                  encourage investment in Precious Metals Bullion instead of using the
                  information to determine the suitability of the recommendations for the
                  investors;

               d. Defendants advised investors to transfer their entire Qualified Retirement
                  Savings to Precious Metals Bullion—a single alternative asset class; and

               e. Defendants failed to advise investors of the recommendation in Metals’
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                  Customer Agreements that no investor should invest more than 20 percent of
                  the available investment funds in Precious Metals Bullion, and instead advised
                  Defendants to transfer as much funds as they could, up to their entire
                  Qualified Retirement Savings.

       124.    Defendants further violated their fiduciary duty to investors by charging Spreads

that constitute an unreasonable fee. The Spreads disclosed in the Customer Agreements lack

definiteness and are unreasonable at the upper end of the range. Most egregiously, and

fraudulently, the Spreads actually charged investors were far greater than the range represented

in the Customer Agreements. In particular:

               a. The Spread indicated by Metals’ Customer Agreements for IRA transactions
                  ranged from 2-33% in Customer Agreement #1 and from 1-19.9% in
                  Customer Agreement #2. The Customer Agreement describes Precious Metals
                  Bullion products with a Spread of 1-5% and actual purchases of other
                  Precious Metals Bullion had a Spread of 9%;

               b. The Spread actually charged to investors for Polar Bear Bullion had no
                  rational relationship to the Spread or fee Metals’ otherwise represented or
                  charged for other Precious Metals Bullion;

               c. The range of the Spread indicated by Metals’ Customer Agreements for IRA
                  transactions lacked definiteness and disclosed an unreasonable range, leaving
                  the true cost to prospective investors uncertain;

               d. Most of the range of the Spread indicated by Metals’ Customer Agreements
                  for IRA transactions provided a fee far in excess of IAs & IARs’ industry
                  standards; and

               e. Defendants knew that due to the size of the Spread actually charged investors,
                  in addition to the upper ranges of the Spread represented in the Customer
                  Agreements for IRA transactions, investors’ ability to profit and not sustain a
                  loss on the overpriced Precious Metals Bullion were dependent on the
                  Prevailing Market Price appreciating significantly above historical all-time
                  high prices and selling their Precious Metals Bullion could incur additional
                  transaction costs.

       125.    Defendants, directly and by and through their sales representatives or other

agents, engaged in fraud and violated their fiduciary duty by making material misrepresentations
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and material omissions in providing investment advice to investors to transfer their Qualified

Retirement Savings, including divesting themselves of securities, and purchase Precious Metals

Bullion from Metals.

       126.    Defendants, directly and by and through their sales representatives or other

agents, made material misrepresentations and material omissions regarding Qualified Retirement

Savings, including securities, as compared to Precious Metals Bullion which included, but were

not limited to, the following:

               a. Made misleading statements to instill fear in elderly and retirement-aged
                  investors about their Qualified Retirement Savings in order to justify the
                  advice to liquidate and transfer these funds to Defendants for purchase of
                  Precious Metals Bullion;

               b. Misrepresented that the government was going to take their retirement funds
                  from Qualified Retirement Savings in a “Bail-in” to help banks and
                  government programs;

               c. Misrepresented that IRA custodians are in bad shape, custodians are likely to
                  fall apart, and that it is unclear who actually owns the underlying securities
                  held in Qualified Retirement Savings accounts;

               d. Misrepresented that the government could seize funds held in Qualified
                  Retirement Savings, but not Precious Metals Bullion accounts;

               e. Misrepresented that Precious Metals Bullion investments could not lose value;

               f. Misrepresented that investors would profit from Precious Metals Bullion;

               g. Misrepresented that Precious Metals Bullion would provide a greater rate of
                  return that securities;

               h. Misrepresented that the tax benefits of Precious Metals Bullion were better
                  than securities;

               i. Misrepresented that Precious Metals Bullion were definitively a safer, more
                  conservative, or less volatile investment than securities; and

               j. Omitted that precious metals involve considerable risk and are at times

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                    volatile investments that are affected by economic conditions, political events,
                    and speculative activities.

       127.      Defendants, by and through their sales representatives or other agents, made

material misrepresentations and material omissions regarding their connections to and

relationships with conservative media personalities which included, but were not limited to, the

following:

                 a. Misrepresented that Asher and Batashvili are friends with a conservative
                    television and radio personality and that this conservative personality
                    recommended buying Precious Metals Bullion, despite receiving a cease and
                    desist demand from this media personality to stop touting this purported
                    affiliation; and

                 b. Misrepresented that this conservative television and radio personality was
                    affiliated with, backed, or endorsed Metals despite receiving a cease and
                    desist demand from this media personality to stop touting this purported
                    affiliation.

       128.      Defendants, directly and by and through their sales representatives or other

agents, made material misrepresentations and material omissions regarding the experience and

expertise of their sales representatives or other agents which included, but were not limited to,

the following:

                 a. Misrepresented and/or omitted their lack of experience in determining
                    whether securities and other investments constitute suitable investments for
                    the investor;

                 b. Misrepresented or omitted their lack of experience in valuing securities and
                    calculating market volatility;

                 c. Misrepresented or omitted their lack of experience in forecasting economic
                    conditions, such as the likelihood of recession and the possibility of inflation,
                    as well as predicting the exchange rate of the Dollar; and

                 d. Misrepresented or omitted their experience in determining whether securities
                    and other investments constitute appropriate products for these elderly
                    investors.
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       129.    Defendants, directly and by and through their sales representatives or other

agents, made material omissions by failing to disclose information about complaints, including

complaints relating to fraudulent, deceptive, and illegal practices, sent, submitted, or otherwise

levied by prior investors.

       130.    Defendants, directly and by and through their sales representatives or other

agents, made material omissions by failing to disclose the identities of Defendants’ sales

representatives or other agents during interactions with investors by using false names and not

disclosing the true identity of Defendants’ sales representatives or other agents.

       131.    Defendants, directly and by and through their sales representatives or other

agents, made material misrepresentations and material omissions regarding their compensation

structure which included, but were not limited to, the following:

               a. Misrepresented how the Defendants’ sales representatives or other agents
                  were compensated; and

               b. Failed to reveal conflicts of interest arising from Defendants’ sales
                  representative compensation being tied to the amount of funds from investors’
                  Qualified Retirement Savings invested in Precious Metals Bullion.

       132.    Defendants, directly and by and through their sales representatives or other

agents, made material misrepresentations regarding their Spread and fees, which included, but

were not limited to, the following:

               a. Misrepresented to investors that Metals would pay any fees, such as storage
                  fees, associated with their Precious Metals Bullion for the first 2-5 years,
                  depending on the investor; and

               b. Misrepresented to investors that the funds transferred from Qualified
                  Retirement Savings and Cash Accounts were used to purchase Precious
                  Metals Bullion, when in fact Metals and Barrick charged large percentages in
                  excess of the Prevailing Market Price.

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        133.   Defendants, directly and by and through their sales representatives or other

agents, made material omissions regarding Defendants’ Spread on Precious Metals Bullion,

which included, but were not limited to, the following:

               a. Failed to disclose the actual Spread charged to investors;

               b. Failed to disclose the method of calculating compensation and amount of
                  compensation actually paid to sales representatives or other agents who sold
                  Precious Metals Bullion to investors;

               c. Failed to disclose that the Spreads actually charged and that the Spreads
                  represented in Customer Agreement #1 and Customer Agreement #2
                  materially impacted investors’ ability to profit and the risk of loss;

               d. Failed to disclose that an investor’s ability to profit and not sustain a loss on
                  the Precious Metals Bullion investment was dependent on the Prevailing
                  Market Price appreciating significantly above historical all-time high prices
                  and selling their Precious Metals Bullion could incur additional transaction
                  costs;

               e. Failed to disclose the losses that investors would incur upon transferring their
                  Qualified Retirement Savings to a SDIRA and purchasing Precious Metals
                  Bullion based on the Spread actually charged by Metals or the Spread
                  represented in Customer Agreement #1 and Customer Agreement #2; and

               f. Failed to disclose that Precious Metals Bullion might not appreciate enough to
                  cover storage and SDIRA fees associated with Precious Metals Bullion
                  investments.

        c. The Fraud Defendants Engaged in Violates Additional States’ Laws

        134.   The foregoing conduct also violates state laws prohibiting: (1) any person from

making material misrepresentations or omissions in connection with the offer, purchase, or sale

of securities, (2) material misrepresentations or omissions in connection with the offer, purchase,

or sale of commodities, (3) unfair or deceptive trade practices, and (4) financial exploitation of

the elderly.

        135.   Defendants, directly and by and through their sales representatives or other
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agents, used material misrepresentations and omissions as set forth in paragraphs 124 through

131 and elsewhere in this complaint in connection with investors’ sale of securities held in

Qualified Retirement Savings.

       136.     Through these material misrepresentations and omissions, Defendants solicited

investors to sell securities in order to ultimately gain access to those funds through the sale of

overpriced Precious Metals Bullion. The profits obtained by the Defendants and compensation

paid to their sales representatives or other agents were related to the amount of Qualified

Retirement Savings, including securities, that Defendants convinced investors to liquidate.

       137.     The conduct described in paragraphs, 55 through 75, 124 through 131, and

elsewhere in this complaint also violates state law governing commodities fraud, unfair or

deceptive trade practices, and financial exploitation of the elderly.

         V.     VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND CFTC
                                    REGULATIONS

                                             COUNT I

                                               Fraud

   Violations of Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1) (2018), and CFTC Regulation
                      180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2019)

                                     (Brought by all Plaintiffs)

       138.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       139.     During the Relevant Period, Defendants, individually and also operating as a

common enterprise, and acting through various officers, employees or agents, intentionally or

recklessly, in connection with contracts of sale of commodities in interstate commerce,
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               a. Used or employed, or attempted to use or employ, a scheme or artifice to
                  defraud;

               b. Made, or attempted to make untrue or misleading statements of material fact,
                  or omitted to state material facts necessary to make the statements made not
                  untrue or misleading; and/or

               c. Engaged in, or attempted to engage in, acts, practices, or a course of business
                  that operated or would operate as a fraud or deceit on Metals’ and Barrick’s
                  customers.

       140.    As a result of the foregoing conduct, Defendants’ fraudulent conduct violated 7

U.S.C. § 9(1) (2018) and 17 C.F.R. § 180.1(a)(1)-(3) (2019).

       141.    The acts, omissions, and failures of Asher and Batashvili and other officials,

agents, or persons acting for Metals and Barrick described in this Complaint, including sales

representatives or other agents, have occurred within the scope of their employment, agency, or

office with Metals and Barrick are deemed to be the acts, omissions, and failures of Metals and

Barrick by operation of Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B) (2018), and CFTC

Regulation 1.2, 17 C.F.R. § 1.2 (2019).

       142.    Asher and Batashvili controlled Metals and Barrick and have not acted in good

faith or have knowingly induced, directly or indirectly, the acts constituting Metals’ and

Barrick’s violations alleged in this count. As a result, pursuant to Section 13(b) of the CEA,

7 U.S.C. § 13c(b) (2018), Asher and Batashvili are liable for Metals’ and Barrick’s violations of

7 U.S.C. § 9(1) (2018), and 17 C.F.R. § 180.1(a)(1)-(3) (2019), as controlling persons.

       143.    At all times relevant to this Complaint, Asher and Batashvili acted within the

course and scope of their employment, agency, or office with Metals and Barrick. Pursuant to

Section 2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B) (2018), and CFTC Regulation 1.2, 17 C.F.R.

§ 1.2 (2019), Metals and Barrick are liable as principals for Asher’s, Batashvili’s, and their other
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agents’ acts and omissions in violation of 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

       144.     Each use or employment or attempted use or employment of any manipulative

device, scheme, or artifice to defraud; untrue or misleading statement of fact, omission of

material fact necessary to make statements not untrue or misleading; or act of engaging, or

attempting to engage, in acts, practices or courses of business that operated or would have

operated as a fraud or deceit on Metals’ and Barrick’s investors is alleged as a separate and

distinct violation of 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

                  VI. VIOLATIONS OF THE CODE OF ALABAMA

                              (Brought by Plaintiff State of Alabama)

                                         Securities Fraud
                                             Definitions

       145.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       146.     Section 8-6-2(7), Code of Alabama (1975), defines the term “person” to include a

natural person; a corporation created under the laws of this or any other state, country,

sovereignty, or political subdivision thereof; a partnership; an association; a joint-stock

company; a trust, excluding testamentary trusts, trusts for the benefit of the creator or another,

court-created trusts, or public charitable trusts; and any unincorporated organization.

       147.     Section 8-6-2(10), Code of Alabama (1975) defines the term “security” broadly to

include, but not limit to, any note, stock, treasury stock, bond, debenture, evidence of

indebtedness, certificate of interest or participation in any profit-sharing agreement, collateral-

trust certificate, preorganization certificate or subscription, transferable share, investment

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contract, as well as any instrument of any kind commonly known as a security.

        148.    Section 8-6-2(18), Code of Alabama (1975), defines an investment adviser as any

person, who, for compensation, engages in the business of advising others, either directly or

through publications or writings, as to the value of securities or as to the advisability of investing

in, purchasing, or selling securities.

        149.    Section 8-6-2(19), Code of Alabama (1975), defines an investment adviser

representative as any partner, officer, director of (or a person occupying a similar status or

performing similar functions) or other individual employed by or associated with an investment

adviser, except clerical or ministerial personnel, who makes any recommendation or otherwise

renders advice regarding securities; manages accounts or portfolios of clients; determines which

recommendation or advice regarding securities should be given; and/or supervises employees

who perform any of the foregoing.

                                             COUNT II

         Unregistered Investment Adviser and Investment Adviser Representatives
                  Violations of § 8-6-3(b) and (c), Code of Alabama (1975)

        150.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        151.    Section 8-6-3(b) Code of Alabama (1975) makes it unlawful for any person to

transact business in the State of Alabama as an investment adviser or as an investment adviser

representative unless:

                (1) He or she is so registered under Article 6 of the Alabama Code (1975);

                (2) His or her only clients in this state are investment companies as defined in the
                    Investment Company Act of 1940, other investment advisers, broker-dealers,

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                    banks, trust companies, savings and loan associations, insurance companies,
                    employee benefit plans with assets of not less than $1,000,000, and
                    governmental agencies or instrumentalities, whether acting for themselves or
                    as trustees with investment control, or other institutional investors as are
                    designated by rule or order of the commission; or

                (3) He or she has no place of business in the state and during any period of 12
                    consecutive months does not direct business communications in this state in
                    any manner to more than five clients, other than those specified in the
                    previous subdivision, whether or not he, she, or any of the persons to whom
                    the communications are directed is then present in the state.

        152.    Section 8-6-3(c) Code of Alabama (1975) makes it unlawful for any investment

adviser required to be registered to employ an investment adviser representative unless the

investment adviser representative is registered under Article 6 of the Code of Alabama (1975).

        153.    Metals and Barrick unlawfully acted as investment advisers by, for compensation,

engaging in the business of advising others, either directly or through publications or writings, as

to the value of securities or as to the advisability of selling securities.

        154.    Asher and Batashvili unlawfully acted as investment adviser representatives by

being a partner, officer, director of (or a person occupying a similar status or performing similar

functions) or other individual employed by or associated with Metals and Barrick, who made

recommendations or otherwise rendered advice regarding securities; determined which

recommendation or advice regarding securities should be given; and supervised employees, to

include sales representatives or other agents, who performed these functions.

        155.    During the relevant period, the Defendants were at no time registered as

Investment Advisers or Investment Adviser Representatives in the State of Alabama and had not

perfected an exemption.

        156.    As a result of their conduct, the Defendants violated Sections 8-6-3(b) and (c),

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Code of Alabama (1975).

                                           COUNT III

                                   Investment Advice Fraud
                     Violations of § 8-6-17(b)(2), Code of Alabama (1975)

       157.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       158.     Section 8-6-17(b)(2), Code of Alabama (1975), makes it unlawful for any person

who receives, directly or indirectly, any consideration from another person for advising the other

person as to the value of securities or their purchase or sale, whether through the issuance of

analyses or reports or otherwise, to engage in any act, practice, or course of business which

operates or would operate as a fraud or deceit upon the other person.

       159.     During the relevant period, the Defendants, willfully and unlawfully, directly or

indirectly, by and through others, including their sales representatives or other agents, received

compensation from Alabama investors by fraudulently and deceitfully advising Alabama

investors to sell their securities held in Qualified Retirement Savings, and then use those funds to

purchase Precious Metals Bullion. The fraudulent and deceitful advice resulted in the Defendants

converting the majority of the investment funds to their own benefit without the knowledge of

the Alabama Investors.

       160.     As a result of their conduct, the Defendants violated Section 8-6-17(b)(2), Code

of Alabama (1975).

                                           COUNT IV

    Material Misrepresentations & Omissions in Connection with the Sale of a Security
                   Violations of § 8-6-17(a)(2), Code of Alabama (1975)
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       161.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       162.     Section 8-6-17(a)(2) makes it unlawful for any person, in connection with the

offer, sale, or purchase of any security, directly or indirectly, to make any untrue statement of a

material fact or to omit to state a material fact necessary in order to make the statements made, in

light of the circumstances under which they are made, not misleading.

       163.     During the relevant period, Defendants, willfully and unlawfully, in connection

with the sale of any security, directly or indirectly, by and through others, including their sales

representatives or other agents, made untrue statements of material fact or omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they are made, not misleading, as contained in the complaint. As a result of the

material misrepresentations and omissions by the Defendants, Alabama investors sold their

securities held in Qualified Retirement Savings, and then used those funds to purchase Precious

Metals Bullion. The material misrepresentations and omissions resulted in the Defendants

converting the majority of the investment funds to their own benefit without the knowledge of

the Alabama Investors.

       164.     As a result of their conduct, the Defendants violated Section 8-6-17(a)(2), Code of

Alabama (1975).




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                                             COUNT V

                              Financial Exploitation of the Elderly
                                          Definitions

       165.    Section 13A-6-191(3), Code of Alabama (1975), defines an elderly person as a

person 60 years of age or older.

       166.    Section 13A-6-191(2), Code of Alabama (1975), defines deception as occurring

when a person knowingly:

               a. Creates or confirms another's impression which is false and which the
                  defendant does not believe to be true;

               b. Fails to correct a false impression which the defendant previously has created
                  or confirmed;

               c. Fails to correct a false impression when the defendant is under a duty to do so;

               d. Prevents another from acquiring information pertinent to the disposition of the
                  property involved;

               e. Sells or otherwise transfers or encumbers property, failing to disclose a lien,
                  adverse claim, or other legal impediment to the enjoyment of the property,
                  whether that impediment is or is not valid, or is not a matter of official record;

               f. Promises performance which the defendant does not intend to perform or
                  knows will not be performed.

       167.    Section 13A-6-191(5), Code of Alabama (1975), defines financial exploitation as

the use of deception, intimidation, undue influence, force, or threat of force to obtain or exert

unauthorized control over an elderly person's property with the intent to deprive the elderly

person of his or her property or the breach of a fiduciary duty to an elderly person by the person's

guardian, conservator, or agent under a power of attorney which results in an unauthorized

appropriation, sale, or transfer of the elderly person's property.


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                              Financial Exploitation of the Elderly
                       Violations of § 13A-6-195, Code of Alabama (1975)

       168.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       169.     Section 13A-6-195 Code of Alabama (1975) makes it unlawful for any person to

financially exploit an elderly person in which the value of the property taken exceeds two

thousand five hundred dollars ($2,500).

       170.     During the relevant period, the Defendants, by and through others, including their

sales representatives or other agents, intentionally and knowingly used deception to obtain or

exert unauthorized control over the retirement funds of Alabama Investors with the intent to

deprive the Alabama Investors of a majority of their retirement funds. Each Alabama Investor

was 60 years of age or older and lost more than $2,500.00 dollars.

       171.     Due to the deceptive conduct and statements made by the Defendants, by and

through others, including their sales representatives or other agents, Alabama investors

liquidated Qualified Retirement Savings and purchased Precious Metals Bullion. The deception

resulted in the Defendants converting the majority of the investment funds to their own benefit

without the knowledge of the Alabama Investors.

       172.     As a result of their conduct, the Defendants violated Section 13A-6-195, Code of

Alabama (1975).




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                       VII. VIOLATIONS OF THE ALASKA STATUTES

                                (Brought by Plaintiff State of Alaska)

                                             COUNT VI

                                      Unfair Trade Practices
                               Violations of Alaska Stat. § 45.50.471

       173.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       174.     Alaska Stat. § 45.50.471(a) provides that “Unfair or deceptive acts or practices in

the conduct of trade or commerce are declared to be unlawful.”

       175.     Alaska Stat. § 45.50.471(b) provides that “[t]he terms ‘unfair methods of

competition’ and ‘unfair or deceptive acts or practices’ include the following acts: . . .

                (11) engaging in any other conduct creating a likelihood of confusion or of
                     misunderstanding and that misleads, deceives, or damages a buyer or a
                     competitor in connection with the sale or advertisement of goods or services;
                (12) using or employing deception, fraud, false pretense, false promise,
                     misrepresentation, or knowingly concealing, suppressing, or omitting a
                     material fact with intent that others rely upon the concealment, suppression, or
                     omission in connection with the sale or advertisement of goods or services
                     whether or not a person has in fact been misled, deceived, or damaged;
                ...
                (35) violating Alaska Stat. § 45.63 (solicitations by telephonic means) …

       176.     Metals, Barrick, Batashvili, and Asher, and their agents or employees, engaged in

conduct creating a likelihood of confusion or misunderstanding that mislead, deceived, or

damaged buyers in connection with the sale or advertisement of goods.

       177.     Metals, Barrick, Batashvili, and Asher, and their agents or employees, used or

employed deception, fraud, false pretense, false promise, misrepresentation, or knowingly

concealed, suppressed, or omitted material facts with the intent that others rely upon the

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concealment, suppression, or omission in connection with the sale or advertisement of goods.

       178.    Alaska Stat. § 45.63.010(a) provides that:

               A person may not sell or attempt to sell property or services by telephonic means
               if the person makes substantially the same offer on substantially the same terms to
               two or more persons, unless the telephone seller is registered with the Department
               of Law at least 30 days before the solicitation campaign.

       179.    Alaska Stat. § 45.63.100(a)(4) and (5) provide that:

               (4) “solicitation campaign” means a sale or attempt to sell property or services by
               telephonic means by making substantially the same offer on substantially the
               same terms to two or more persons.
               (5) “telephone seller” means a person required to be registered under Alaska Stat.
               § 45.63.010.

       180.    Through telephonic means, Metals, Barrick, Batashvili, and Asher, and their

employees or agents, offered to sell or sold substantially similar property or services on

substantially similar terms to two or more persons, but did not register with the Department of

Law. Specifically, Metals, Barrick, Batashvili, and Asher, directly and by and through their

agents or employees, sold Precious Metals Bullion to at least eight Alaska investors at a Spread

so high it consumed more than half of the amount initially invested and used similar standard

form agreements for each transaction.

       181.    As described herein, Metals, Barrick, Batashvili, and Asher engaged in unfair and

deceptive acts or practices in violation of Alaska Stat. § 45.50.471 related to the sale of Precious

Metals Bullion and related financial services.

       182.    Batashvili and Asher had actual knowledge, were recklessly indifferent, or knew

that it was highly probable that Metals and Barrick or the agents and employees of Metals and

Barrick were engaging in unfair or deceptive acts or practices. Batashvili and Asher had the


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authority to control the unfair or deceptive acts or practices that Metals, Barrick, and their

employees or agents engaged in. Batashvili and Asher are thus liable for any such violations of

Alaska Stat. § 45.50.471 committed by Metals or Barrick, regardless of whether Batashvili and

Asher personally committed the violations.

        183.     Because Metals and Barrick are a common enterprise, Metals and Barrick are

both liable for any violations of Alaska Stat. § 45.50.471.

        184.     Batashvili and Asher used Metals and Barrick to perpetuate the fraudulent

scheme. Batashvili and Asher are thus liable for any violations of Alaska Stat. § 45.50.471,

regardless of whether Batashvili and Asher personally committed the violations.

                    VIII. VIOLATIONS OF THE CALIFORNIA STATUTES

                                (Brought by Plaintiff State of California)

                                                COUNT VII

                                      Unlicensed Investment Advice
                                       (Cal. Corp. Code, § 25230)

        185.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        186.     An “investment adviser” is defined under the Corporate Securities Law of 1968

(CSL) (Corp. Code, § 25000 et seq.) section 25009 in relevant part as “any person who, for

compensation, engages in the business of advising others . . . as to the value of securities or as to

the advisability of . . . selling securities . . . ”

        187.     California Corporations Code section 25230 provides, in relevant part:

                 (a) It is unlawful for any investment adviser to conduct business as an
                 investment adviser in this state unless the investment adviser has first

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               applied for and secured from the commissioner a certificate, then in effect,
               authorizing the investment adviser to do so or unless the investment
               adviser is exempted by the provisions of Chapter 1 (commencing
               with Section 25200) of this part or unless the investment adviser is subject
               to Section 25230.1.

       188.    California Corporations Code section 25403 provides:

               (a) Every person who with knowledge directly or indirectly controls and induces
               any person to violate any provision of this division or any rule or order thereunder
               shall be deemed to be in violation of that provision, rule, or order to the same
               extent as the controlled and induced person.

               (b) Any person that knowingly provides substantial assistance to another
               person in violation of any provision of this division or any rule or order
               thereunder shall be deemed to be in violation of that provision, rule, or
               order to the same extent as the person to whom the assistance was
               provided.

               (c) It shall be unlawful for any person directly or indirectly to do any act
               or thing which would be unlawful for that person to do under any
               provision of this division or any rule or order thereunder through or by any
               other person.

               (d) Nothing in this section shall be construed to limit the power of the state to
               punish any person for any conduct which constitutes a crime under any other
               statute.

       189.    At all relevant times, Defendants working from their Beverly Hills, California

offices conducted business as investment advisers without a certificate from the Commissioner,

or a valid exemption, in violation of CSL section 25230 by the conduct described in this

complaint including warning senior citizens that the stock market was due for an imminent,

major crash, worse than 2008, and advising investors to sell securities to purchase Precious

Metals Bullion to save and protect their investment because the government could seize

retirement savings and bank accounts, but not Precious Metals Bullion holdings. Defendants

further warned investors that leaving investments in the securities markets was dangerous to
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investors’ financial future. Defendants gained, and investors lost, when investors sold securities

and purchased overpriced Precious Metals Bullion.

       190.     Alternatively, Metals and Barrick violated CSL section 25230 and Batashvili and

Asher, as Metals and Barrick’s founders and owners, knowingly controlled and induced, or

knowingly substantially assisted, Metals and Barrick’s violations of CSL section 25230, by the

conduct described in this complaint including: (1) hiring, training, and supervising sales

representatives or other agents, (2) training sales representatives or other agents to provide

investors with securities market and Precious Metals Bullion advice, and (3) training sales

representatives or other agents to advise investors to sell their Qualified Retirement Savings to

purchase Precious Metals Bullion.

                                           COUNT VIII

                                    Investment Adviser Fraud
                                    (Cal. Corp. Code § 25235)

       191.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       192.     California Corporations Code section 25235 provides, in relevant part:

                It is unlawful for any investment adviser, directly or indirectly, in this
                state:
                (a) To employ any device, scheme, or artifice to defraud any client or
                prospective client.
                (b) To engage in any transaction, practice, or course of business which
                operates or would operate as a fraud or deceit upon any client or
                prospective client.

       193.     At all relevant times, Defendants violated CSL section 25235 by the conduct

described in this complaint including operating a scheme to defraud investors out of their


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retirement savings by misrepresenting to elderly and retirement aged investors that the securities

markets would imminently crash, worse than the 2008 crash, and that the government could seize

funds held in retirement accounts but not Precious Metals Bullion accounts, which were safer

and less volatile than securities accounts and could not lose value. Inexperienced, trusting, senior

citizens allowed Defendants to choose the Precious Metals Bullion they purchased. Defendants

deceptively placed approximately 90% of all investors’ investments in overpriced Polar Bear

Bullion and Barrick Bullion. Defendants failed to disclose: (1) the risks associated with investing

in Precious Metals Bullion, (2) conflicts of interest arising from Defendants’ compensation being

tied to the amount of funds invested, and (3) the Markup on the overpriced Precious Metals

Bullion.

       194.    Alternatively, Metals and Barrick violated CSL section 25235 and Batashvili and

Asher as Metals’ and Barrick’s founders and owners, knowingly controlled and induced, or

knowingly substantially assisted, Metals and Barrick’s violations of CSL section 25235, by: (1)

hiring, training, and supervising sales representatives or other agents, (2) training sales

representatives or other agents to provide investors with securities market and Precious Metals

Bullion advice; (3) training sales representatives or other agents to direct investors to sell their

Qualified Retirement Savings to purchase Precious Metals Bullion, (4) choosing the Precious

Metals Bullion that trusting, inexperienced, senior citizens purchased, and placing approximately

90% of all investors’ investments in the overpriced Polar Bear Bullion and Barrick Bullion ; and

(5) failing to disclose Defendants’ Markup, leading to investors’ immediate loss, when investors

purchased the overpriced Precious Metals Bullion.



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                                             COUNT IX

                                        Commodities Fraud
                                     (Cal. Corp. Code, § 29536)

       195.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       196.     California Corporations Code section 29536 provides:

                It is unlawful for any person, directly or indirectly, in connection with the
                purchase or sale of, the offer to sell, the offer to purchase, the offer to enter into,
                or the entry into, a commodity, commodity contract, or commodity option to do
                any of the following:

                (a) To willfully employ any device, scheme, or artifice to defraud.

                (b) To willfully make any false report, enter any false record, make any
                untrue statement of a material fact, or omit to state a material fact
                necessary in order to make the statements made, in the light of the
                circumstances under which they were made, not misleading.

                (c) To willfully engage in any transaction, act, practice, or course of
                business which operates or would operate as a fraud or deceit upon any
                persons.

                (d) To willfully misappropriate or convert the funds, security, or property of any
                other person

       197.     California Corporations Code section 29552 provides:

                Any person who materially assists in any violation of this law, or any rule or order
                of the commissioner under this law, is jointly and severally liable with any other
                person liable under this law for the violation.

       198.     Under California Commodity Law of 1990 (CCL) (Corp. Code, § 29500 et seq.)

sections 29504 and 29515, precious metals including gold and silver coins and bullion are

“commodities.”

       199.     Under CCL section 29505, a “commodity contract” means “any account,

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agreement, or contract for the purchase or sale, primarily for speculation or investment purposes

and not for consumption by the offeree or purchaser . . ..”

       200.    At all relevant times, Defendants offered to sell and sold, and offered to purchase

and purchased, commodities and entered into commodity contracts from its principal place of

business in Beverly Hills, California.

       201.    CCL section 29536 applies to the transactions, agreements, or contracts offered

by Defendants.

       202.    At all relevant times Defendants violated CCL section 29536 by the conduct

described in this complaint including employing a scheme to defraud investors out of their

retirement savings by misrepresenting to elderly and retired aged investors that the securities

markets would imminently crash, worse than the 2008 crash, and that the government could seize

funds held in retirement accounts but not Precious Metals Bullion accounts, which were safer

and less volatile than securities accounts and could not lose value. Inexperienced, trusting, senior

citizens allowed Defendants to choose the Precious Metals Bullion they purchased. Defendants

deceptively placed approximately 90% of all investors’ investments in overpriced Polar Bear

Bullion and Barrick Bullion. Defendants failed to disclose: (1) the risks associated with investing

in Precious Metals Bullion, (2) conflicts of interest arising from Defendants’ compensation being

tied to the amount of funds invested, and (3) the Markup on the overpriced Precious Metals

Bullion.

       203.    Alternatively, Metals and Barrick violated CCL section 29536 and Batashvili and

Asher as Metals and Barrick’s founders and owners knowingly controlled and induced, or

knowingly substantially assisted, Metals and Barrick’s violations of CCL section 29536, by the
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conduct described in this complaint including: (1) hiring, training, and supervising sales

representatives or other agents, (2) training sales representatives or other agents to provide

investors with securities market and Precious Metals Bullion advice, (3) training sales

representatives or other agents to direct investors to sell their Qualified Retirement Savings to

purchase Precious Metals Bullion, (4) choosing the Precious Metals Bullion that trusting,

inexperienced, senior citizens purchased, and placing approximately 90% of all investors’

investments in the overpriced Polar Bear Bullion and Barrick Bullion ; and (5) failing to disclose

Defendants’ Markup, leading to investors’ immediate loss, when investors purchased the

overpriced Precious Metals Bullion.

                    IX. VIOLATIONS OF THE COLORADO STATUTES

                              (Brought by Plaintiff State of Colorado)

                                             COUNT X

                                      Commodities Fraud
                                  §§ 11-53-107(1)(a)-(c), C.R.S.

       204.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       205.     In connection with the purchase or sale of a commodity contract or option, the

offer to sell or offer to purchase a commodity contract or option, the offer to enter into a

commodity contract or option, or the entry into a commodity contract or option, Defendants,

directly or indirectly, in violation of § 11-53-107(1)(a)–(c), C.R.S., did:

                a. Cheat or defraud, attempt to cheat or defraud, or employ a device, scheme, or
                   artifice to defraud;

                b. Make a false report, enter a false record, make an untrue statement of material
                   fact or omit to state a material fact necessary to make the statements made, in
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                   light of the circumstances under which they were made, not misleading; or

                c. Engage in a transaction, act, practice, or course of business, including without
                   limitation any form of advertising or solicitations, which operates or would
                   operate as a fraud or deceit on Metals customers or potential customers.

        206.    At all times relevant to this Complaint, Batashvili and Asher acted within the

scope of their employment or office with Metals and Barrick. Pursuant to § 11-53-109(1),

C.R.S., Metals and Barrick are liable as principals for Batashvili’s and Asher’s violations of

§ 11-53-107, C.R.S.

        207.    At all times relevant to this Complaint, Defendants Batashvili and Asher

controlled Metals and Barrick and have not acted in good faith or have knowingly induced,

directly or indirectly, the acts constituting Metals’ and Barrick’s violations alleged in this Count.

As a result, pursuant to § 11-53-109(2), C.R.S., Defendants Asher and Batashvili are liable for

Metals’ and Barrick’s violations of § 11-53-107, C.R.S.

                                            COUNT XI

                                        Securities Fraud
                      Violations of §§ 11-51-501(1)(a), (b) and (c), C.R.S.

        208.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        209.    In connection with the sale of securities in Colorado, the Defendants, directly or

indirectly:

                a. employed a device, scheme or artifice to defraud;

                b. made written and oral untrue statements of material fact or omitted to state
                   material facts necessary to make the statements made, in light of the
                   circumstances under which they were made, not misleading; or

                c. engaged in acts, practices or courses of business which operated and would
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                   operate as a fraud and deceit on investors;

all in violation of § 11-51-501(1), C.R.S.

                         X.    VIOLATIONS OF FLORIDA STATUTES

                               (Brought by Plaintiff State of Florida)

                                             COUNT XII

                              Deceptive and Unfair Trade Practices
                                 Violations of Fla. Stat. 501.204

       210.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       211.     At least 60 or more Florida consumers, including consumers aged 60 or older,

relied on the Defendants’ misrepresentations, false statements, and omissions of material fact,

which were made through phone, email, and written communications, in deciding to purchase

Precious Metals Bullion or other bullion from the Defendants.

       212.     At least 60 or more Florida consumers opened SDIRAs at the recommendation of

the Defendants or their sales agents to facilitate the transactions.

       213.     Certain of these Florida consumers purchased more than one form of Polar Bear

Bullion at the recommendation of the Defendant or their sales agents.

       214.     At least 60 or more Florida consumers have suffered harm, and certain Florida

consumers continue to suffer harm, associated with the Defendants’ deceptive and unfair trade

practices.

       215.     Section 501.204(1), Florida Statutes, the Florida Deceptive and Unfair Trade

Practices Act (“FDUTPA”), provides that unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce are
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unlawful. Misrepresentations, false statements or omissions of material fact constitute deceptive

acts or practices prohibited by FDUTPA.

       216.     Section 501.203(7), Florida Statutes, defines “consumer” as “an individual; child,

by and through its parent or legal guardian; business; firm; association; joint venture;

partnership; estate; trust; business trust; syndicate; fiduciary; corporation; any commercial entity,

however denominated; or any other group or combination.”

       217.     Section 501.203(8), Florida Statutes, defines “trade or commerce” as “the

advertising, soliciting, providing, offering, or distributing, whether by sale, rental, or otherwise,

of any good or service, or any property, whether tangible or intangible, or any other article,

commodity, or thing of value, wherever situated.”

       218.     During the Relevant Period, Defendants and their agents or employees,

individually or as a common enterprise, violated Section 501.204(1), Florida Statutes, in each of

60 or more transactions with Florida consumers, because they made representations or omissions

of material fact in trade or commerce to Florida consumers which were likely to mislead a

consumer acting reasonably in the circumstances to the consumer’s detriment.

                                           COUNT XIII

                           Commodities Prohibited Practices - Fraud
                               Violations of Fla. Stat. 517.275

       219.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       220.     Section 517.275, Florida Statutes, provides “[i]t is unlawful and a violation of this

chapter for any person to engage in any act or practice in or from this state, which act or practice


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constitutes a violation of any provision of the Commodity Exchange Act, 7 U.S.C. ss. 1 et seq.,

as amended, or the rules and regulations of the Commodity Futures Trading Commission

adopted under that act as amended.”

       221.     During the Relevant Period, Defendants and their agents or employees,

individually or as a common enterprise, violated the Commodity Exchange Act as set forth in

Count I of this Complaint, in each of 60 or more transactions with Florida investors, and thereby

violated Section 517.275, Florida Statutes, on 60 or more occasions.

                         XI. VIOLATIONS OF THE GEORGIA CODE

                                  (Brought by Plaintiff State of Georgia)

                                           COUNT XIV

                                Unregistered Investment Adviser
                              Violations of Ga. Code Ann. § 10-5-32

       222.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       223.     Ga. Code Ann. § 10-5-2 provides in relevant part:

                        A.      “Investment adviser” means a person that, for
                compensation, engages in the business of advising others, either
                directly or through publications or writings, as to the value of
                securities or the advisability of investing in, purchasing, or selling
                securities or that, for compensation and as a part of a regular
                business, issues or promulgates analysis or reports concerning
                securities. The term includes a financial planner or other person
                that, as an integral component of other financially related services,
                provides investment advice to others for compensation as part of a
                business or that holds itself out as providing investment advice to
                others for compensation

                       B.     “Investment adviser representative” means an
                individual employed by or associated with an investment adviser

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                or federal covered investment adviser who makes any
                recommendations or otherwise gives investment advice regarding
                securities, manages accounts or portfolios of clients, determines
                which recommendation or advice regarding securities should be
                given, provides investment advice or holds herself or himself out
                as providing investment advice, receives compensation to solicit,
                offer, or negotiate for the sale of or for selling investment advice,
                or supervises employees who perform any of the foregoing.

        224.    Ga. Code Ann. § 10-5-32 provides in relevant part:

                        A.      It is unlawful for a person to transact business in
                this state as an investment adviser unless the person is registered
                under this chapter as an investment adviser or is exempt from
                registration as an investment adviser.

                        B.      It is unlawful for an individual to transact business
                in this state as an investment adviser representative unless the
                individual is registered under this chapter as an investment adviser
                representative or is exempt from registration as an investment
                adviser.

        225.    Ga. Code Ann. § 10-5-33 provides in relevant part:

                    It is unlawful for an individual to transact business in this state as an
                    investment adviser representative unless the individual is registered under this
                    chapter as an investment adviser representative or is exempt from registration
                    as an investment adviser

        226.    Metals unlawfully acted as an investment adviser because Metals, for

compensation, engaged in the business of advising another, directly and/or through publications

or writings, with respect to the sale of securities or to the advisability of investing in, purchasing,

or selling securities.

        227.    Metals has not been registered with the Commissioner, nor has Metals submitted

a notice filing with the Commissioner at any time.

        228.    Barrick unlawfully acted as an investment adviser because Barrick, for


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compensation, engaged in the business of advising another, directly and/or through publications

or writings, with respect to the sale of securities or to the advisability of investing in, purchasing,

or selling securities.

        229.    Barrick has not been registered with the Commissioner, nor has Barrick submitted

a notice filing with the Commissioner at any time.

        230.    Batashvili and Asher unlawfully acted as investment adviser representatives,

because Batashvili and Asher, for compensation, are employed, appointed, and/or authorized by

Metals, an investment adviser, to solicit clients for Metals and they are providing investment

advice to Metals’ clients on behalf of Metals.

        231.    As a result of the foregoing unlawful conduct, Metals, Barrick, Batashvili, and

Asher violated Ga. Code Ann. § 10-5-32 and Ga. Code Ann § 10-5-33.

                                            COUNT XV

                                           Securities Fraud
                                Violations of Ga. Code Ann. § 10-5-51

        232.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        233.    Ga. Code Ann. § 10-5-51 provides, in relevant part, that it is unlawful for a person

that advises others for compensation, either directly or indirectly, or through publications or

writings, as to the value of securities or the advisability of investing in, purchasing, or selling

securities or that, for compensation and as part of a regular business, issues or promulgates

analyses or reports relating to securities: (1) [t]o employ a device, scheme, or artifice to defraud

another person; or (2) [t]o engage in an act, practice, or course of business that operates or would


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operate as a fraud or deceit upon another person.

       234.     Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher in connection with the rendering of investment advice, (1) employed a

device, scheme, or artifice to defraud another person; or (2) engaged in an act, practice, or course

of business that operates or would operate as a fraud or deceit upon another person.

       235.     As a result of the foregoing unlawful conduct, Metals, Barrick, Batashvili, and

Asher violated S Ga. Code Ann. § 10-5-51.

                                           COUNT XVI

                         Unlawful Solicitation and Sale of Commodities
                            Violations of Ga. Code Ann. § 10-5A-2

       236.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       237.     Ga. Code Ann. § 10-5A-1 provides in relevant part:

                A.      “Commodity” means, except as otherwise       specified by the
                Commissioner by rule, regulation, or order . .       . any metal or
                mineral
                B.      “Precious metal” means the following         in either coin,
                bullion, or other form:
                (A) Silver;
                (B) Gold;
                (C) Platinum;
                (D) Palladium;
                (E) Copper; and
                (F) Such other items as the Commissioner may         specify by rule,
                regulation, or order.

       238.     Ga. Code Ann. § 10-5A-2 provides in relevant part:

                Except as otherwise provided in Code Section 10-5A-3 or 10-5A-
                4, no person shall solicit the purchase or sale of or offer to sell or
                purchase any commodity under any commodity contract or under

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               any commodity option or offer to enter into as seller or purchaser
               any commodity contract or commodity option.

       239.    Ga. Code Ann. § 10-5A-7 provides in relevant part:

               A.      The act, omission, or failure of any official, agent, or other
               person acting for any individual, association, partnership,
               corporation, or trust within the scope of his employment or office
               shall be deemed the act, omission, or failure of such individual,
               association, partnership, corporation, or trust, as well as of such
               official, agent, or other person.

               B.      Every person who directly or indirectly controls another
               person liable under any provision of this chapter . . . is also liable
               jointly and severally with and to the same extent as such other
               person.

       240.    Metals unlawfully solicited the sale of precious metals and sold precious metals to

Georgia investors.

       241.    Metals has never been registered with the Commissioner, nor has Metals

submitted a notice filing with the Commissioner at any time.

       242.    Barrick unlawfully solicited the sale of precious metals and sold precious metals

to Georgia investors.

       243.    Barrick has never been registered with the Commissioner, nor has Barrick

submitted a notice filing with the Commissioner at any time.

       244.    Batashvili and Asher unlawfully solicited the sale of precious metals and sold

precious metals to Georgia investors, because Batashvili and Asher are employed, appointed,

and/or authorized by Metals to solicit the sale of precious metals and sell precious metals on

behalf of Metals.

       245.    As a result of the foregoing conduct, Metals, Barrick, Batashvili, and Asher


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violated Ga. Code Ann. § 10-5A-2.

                                            COUNT XVII

                                       Commodities Fraud
                              Violations of Ga. Code Ann. § 10-5A-6

        246.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        247.    Ga. Code Ann. § 10-5A-6 provides in relevant part, that in connection with the

solicitation of a purchase or sale of, the offer to sell, the offer to purchase, the offer to enter into,

or the entry into of any commodity contract or commodity option:

                No person shall directly or indirectly in connection with the solicitation of
                a purchase or sale of, the offer to sell, the offer to purchase, the offer to
                enter into, or the entry into of any commodity contract or commodity
                option. :

                        (1) Cheat or defraud, or attempt to cheat or defraud, any
                        other person or employ any device, scheme, or artifice to
                        defraud any other person;

                        (2) Willfully make any false report, enter any false record,
                        or make any untrue statement of a material fact or fail to
                        state a material fact necessary in order to make the
                        statements made, in the light of the circumstances under
                        which they were made, not misleading;

                        (3) Engage in any transaction, act, practice, or course of
                        business, including, without limitation, any form of
                        advertising or solicitation, which operates or would operate
                        as a fraud or deceit upon any person; or

                        (4) Willfully misappropriate or convert the funds, security,
                        or property of any other person in connection with the
                        solicitation of a purchase or sale of, the offer to sell, the
                        offer to purchase, the offer to enter into, or the entry into of
                        any commodity contract or commodity option subject to the
                        provisions of Code Section 10-5A-2, Code Section 10-5A-

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                        3, or paragraph (2) or (4) of subsection (a) of Code Section
                        10-5A-4.

        248.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher, in connection with the solicitation to sell and the sale of precious metals:

(1) Cheated or defrauded, or attempted to cheat or defraud, another person or employed a device,

scheme, or artifice to defraud another person; (2) willfully made a false report, entered a false

record, or made an untrue statement of a material fact or failed to state a material fact necessary

in order to make the statements made, in the light of the circumstances under which they were

made, not misleading; (3) engaged in a transaction, act, practice, or course of business, including,

without limitation, any form of advertising or solicitation, which operated or would operate as a

fraud or deceit upon another person; or (4) willfully misappropriated or converted the funds,

security, or property of another person in connection with the solicitation of a purchase or sale

of, the offer to sell, the offer to purchase, the offer to enter into, or the entry into of any

commodity contract or commodity option.

        249.    As a result of the foregoing unlawful conduct, Metals, Barrick, Batashvili, and

Asher violated Ga. Code Ann. § 10-5A-6.

                        XII. VIOLATIONS OF KENTUCKY STATUTES

                                 (Brought by Plaintiff State of Kentucky)

                                            COUNT XVIII

                                     Unregistered Investment Adviser
                                      Violations of KRS 292.330(8)

        250.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

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       251.    KRS 292.310(11) defines “Investment adviser” as “any person who, for

compensation, directly or indirectly, engages in the business of advising others, either directly or

through publications or writings, as to the value of securities or as to the advisability of investing

in, purchasing, or selling securities, or who, for compensation and as a part of a regular business,

issues or promulgates analyses or reports concerning securities.”

       252.    KRS 292.310(19) defines “Security”, in relevant part, as,

               “[A]ny note, stock, treasury stock, bond, debenture, evidence of
               indebtedness, certificate of interest or participation in any profit-
               sharing agreement, collateral-trust certificate, preorganization
               certificate or subscription, transferable share, investment contract,
               life settlement investment, voting-trust certificate, certificate of
               deposit for a security; fractional undivided interest in oil, gas, or
               other mineral rights; or, in general, any interest or instrument
               commonly known as a “security.””

       253.    KRS 292.330(8) makes it “unlawful for any person to transact business in this

state as an investment adviser unless the person is registered under this chapter as an investment

adviser or is exempt from registration under subsection (9) of this section.”

       254.    Based on the facts set forth above, Defendants, directly and by and through their

agents or representatives, in direct contravention of KRS 292.330(8), transacted business as an

investment adviser by advising clients to roll their stock-funded IRAs, a security, into self-

directed IRAs invested in Precious Metals Bullion, despite failing to be registered as an

investment adviser under KRS Chapter 292 and accordingly violated KRS 292.330(8).

                                          COUNT XVIX

                                        Securities Fraud
                                  Violations of KRS 292.320(1)

       255.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

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by reference.

        256.    Pursuant to KRS 292.320(1), “[i]t is unlawful for any person, in connection with

the offer, sale, or purchase of any security, directly or indirectly:

        (a) To employ any device, scheme, or artifice to defraud;

        (b) To make any untrue statement of a material fact or to omit to state a material

        fact necessary in order to make the statements made, in the light of the

        circumstances under which they are made, not misleading; or

        (c) To engage in any act, practice, or course of business which operates or would

        operate as a fraud or deceit upon any person.”

        257.    Defendants, directly and by and through their agents or representatives, employed

a device, scheme, or artifice to defraud, made an untrue statement of a material fact or to omitted

to state a material fact necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; or engaged in an act, practice, or

course of business which operated or would operate as a fraud or deceit upon any person.”

Defendants therefore violated KRS 292.320(1).

                      XIII. VIOLATIONS OF THE MARYLAND CODE

                                (Brought by Plaintiff State of Maryland)

                                             COUNT XX

          Unregistered Investment Adviser and Investment Adviser Representative
                  Violations of Md. Code, Corps. & Assn’s § 11-401(b)(1)

        258.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.


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        259.     The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-101(i)(1) provides

in relevant part:

        260.            Investment adviser” means a person who, for compensation:

                 (i) Engages in the business of advising others, either directly or
                 through publications or writings, as to the value of securities or as
                 to the advisability of investing in, purchasing, or selling securities,
                 or who, for compensation and as a part of a regular business, issues
                 or promulgates analyses or reports concerning securities; or
                 (ii) Provides or offers to provide, directly or indirectly, financial
                 and investment counseling or advice, on a group or individual
                 basis; or
                 (iii) Holds out as an investment adviser in any way, including
                 indicating by advertisement, card, or letterhead, or un any other
                 manner indicates that the person is, a financial or investment
                 “planner”, “counselor,” “consultant,” or any other similar type of
                 adviser or consultant.

        261.     The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-101(j) provides in

relevant part:

                 “Investment adviser representative” or “representative” means any
                 partner, officer, director of (or a person occupying a similar status
                 or performing similar functions) or other individual who is
                 employed by or associated with an investment adviser, or who has
                 a place of business located in this State and is employed by or
                 associated with a federal covered adviser . . and who:

                 (i) Makes any recommendations or otherwise renders investment
                 advice to clients;
                 (ii) Represents an investment adviser in rendering [investment
                 adviser services];
                 (iii) Manages accounts or portfolios of clients;
                 (iv) Determines which recommendation or investment advice
                 should be given with respect to a particular client account;
                 (v) Solicits, offers, or negotiates for the sale of or sells investment
                 advisory services;
                 (vi) Directly supervises employees who perform any of the
                 foregoing; or
                 (vii) Holds out as an investment adviser.
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       262.    The Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-401(b)(1),

provides in relevant part that a person may not transact business in this State as an investment

adviser or as an investment adviser representative unless the person is registered as an

investment adviser or an investment adviser representative under this subtitle.

       263.    Metals and Barrick have never been registered in Maryland as an investment

adviser nor is Metals exempt from registration.

       264.    Metals and Barrick unlawfully acted as investment advisers by: (1) for

compensation advising investors regarding the value of securities or as to the advisability of

investing in, purchasing, or selling securities, (2) by providing, directly or indirectly, financial

and investment counseling to investors, and (3) by holding itself out as an investment adviser.

       265.    Batashvili and Asher have never been registered in Maryland as investment

adviser representatives nor are they exempt from registration.

       266.    Batashvili and Asher, as partners, officers, or directors of Metals and Barrick,

unlawfully acted as investment adviser representatives by: (1) making any recommendations or

otherwise rendering investment advice to clients, (2) representing Metals and Barrick in

rendering investment adviser services, (3) determining which recommendation or investment

advice should be given with respect to a particular client account, (4) soliciting, offering, or

negotiating for the sale of or sells investment advisory services, (5) directly supervising

employees who perform any investment adviser representative services, and (6) holding out as an

investment adviser.

       267.    As a result of the foregoing unlawful conduct, Metals, Barrick, Batashvili, and


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Asher violated the Maryland Securities Act, Md. Code, Corps. & Assn’s § 11-401(b)(1).

                                           COUNT XXI

                Employment of Unregistered Investment Adviser Representative
                      Violations of Md. Corps. & Assn’s § 11-402(b)(1)

       268.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       269.     Md. Code, Corps. & Assn’s § 11-402(b)(1) provides in relevant part:

                An investment adviser required to be registered may not employ or associate with
                an investment adviser representative unless the representative is registered under
                this subtitle.

       270.     Metals and Barrick, acting as an investment adviser required to be registered,

employed and associated with Batashvili, Asher, and numerous other individuals as investment

adviser representatives.

       271.     As a result of the foregoing unlawful conduct, Metals and Barrick violated Md.

Code, Corps. & Assn’s § 11-402(b)(1).

                                          COUNT XXII

                                       Securities Fraud
                       Violations of Md. Code, Corps. & Assn’s § 11-301

       272.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       273.     Md. Code, Corps. & Assn’s § 11-302(1) provides in relevant part:

                It is unlawful for any person, in connection with the offer, sale, or
                purchase of any security, directly or indirectly to:

                (1) Employ any device, scheme, or artifice to defraud;
                (2) Make any untrue statement of a material fact or omit to state a

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                material fact necessary in order to make the statements made, in
                light of the circumstances under which they are made, not
                misleading; or
                (3) Engage in any act, practice, or course of business which
                operates or would operate as a fraud or deceit on any person.

       274.     In connection with the sale of securities held by Marylanders primarily for

retirement purposes, Metals and Barrick, acting through various officers, employees, or agents,

and Batashvili and Asher, employed a device, scheme, or artifice to defraud, made untrue

statements of material fact and omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading, or

engaged in acts, practices, and courses of business which operates or would operate as a fraud or

deceit on any person.

       275.     Based on the foregoing conduct, Metals, Barrick, Batashvili, and Asher violated

Md. Code, Corps. & Assn’s § 11-302(1).

                                          COUNT XXIII

         Fraud and Unethical Business Practices in Investment Advisory Activities
        Violations of Md. Code, Corps. & Assn’s § 11-302 and COMAR 02.02.05.03

       276.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       277.     Md. Code, Corps. & Assn’s § 11-302 provides in relevant part:

                (a) It is unlawful for any person who receives, directly or
                indirectly, any consideration from another person for advising the
                other person as to the value of securities or their purchase or sale,
                or for acting as an investment adviser or representative under § 11-
                101(i) and (j) of this title, whether through the issuance of
                analyses, reports, or otherwise to:

                (1) Employ any device, scheme, or artifice to defraud the other

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             person;
             (2) Engage in any act, practice, or course of business which
             operates or would operate as a fraud or deceit on the other person;
             [or]
             (3) Engage in dishonest or unethical practices.

             (c) In the solicitation of or dealings with advisory clients, it is
             unlawful for any person willfully to make any untrue statement of
             a material fact, or omit to state a material fact necessary in order to
             make the statements made, in light of the circumstances under
             which they are made, not misleading.

      278.   COMAR 02.02.05.03 provides in relevant part:

             (B) An investment adviser is a fiduciary and has a duty to act
             primarily for the benefit of its clients. While the extent and nature
             of this duty varies according to the nature of the relationship
             between an investment adviser and its clients and the
             circumstances of each case, and investment adviser may not
             engage in unethical business practices, including the following:

             (1) Recommending to a client to whom investment supervisory,
             management, or consulting services are provided the purchase,
             sale, or exchange of a security without reasonable grounds to
             believe that the recommendation is suitable for the client on the
             basis of information furnished by the client after reasonable
             inquiry concerning the client's investment objectives, financial
             situation and needs, and any other information known or acquired
             by the investment adviser after reasonable examination of the
             client's financial records.

             (8) Misrepresenting to an advisory client or prospective advisory
             client the qualifications of the investment adviser, or an investment
             adviser representative employed by or associated with the
             investment adviser or an employee of the investment adviser, or
             misrepresenting the nature of the advisory services being offered
             or fees to be charged for that service, or omitting to state a material
             fact necessary to make the statements made regarding
             qualifications, services, or fees, in light of the circumstances under
             which they are made, not misleading.

             (10) Charging a client an unreasonable advisory fee in light of the
             fees charged by other investment advisers providing essentially the
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               same services.

               (12) Guaranteeing a client that a certain or specific result will be
               achieved, for example, gain or no loss, as a result of the advice that
               will be rendered.

       279.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher, while advising Marylanders as to the value of securities for their purchase

or sale, or while acting as investment advisers or representatives employed a device, scheme, or

artifice to defraud, in violation of Md. Code, Corps. & Assn’s § 11-302.

       280.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher, while advising Marylanders as to the value of securities for their purchase

or sale, or while acting as investment advisers or representatives engaged in acts, practices, and

courses of business which operate or would operate as a fraud or deceit on any person in

violation of Md. Code, Corps. & Assn’s § 11-302.

       281.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher, while advising Marylanders as to the value of securities for their purchase

or sale, or while acting as an investment adviser or representative, willfully to made untrue

statements of material fact, or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they are made, not misleading in

violation of Md. Code, Corps. & Assn’s § 11-302.

       282.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher, while advising Marylanders as to the value of securities for their purchase

or sale, or while acting as an investment adviser or representative, engaged in unethical or

dishonest business practices in violation of Md. Code, Corps. & Assn’s § 11-302 and COMAR
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02.02.05.03.

                  XIV. VIOLATIONS OF THE SOUTH CAROLINA CODE

                              (Brought by Plaintiff State of South Carolina)

                                          COUNT XXIV

         Unregistered Investment Adviser and Investment Adviser Representative
                   Violations of S.C. Code Ann. § 35-1-403 to 35-1-404

       283.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       284.     South Carolina Code Ann. § 35-1-102(15), provides in relevant part:

          “Investment adviser” means a person that, for compensation, engages in the
          business of advising others, either directly or through publications or
          writings, as to the value of securities or the advisability of investing in,
          purchasing, or selling securities or that, for compensation and as a part of a
          regular business, issues or promulgates analyses or reports concerning
          securities. The term includes a financial planner or other person that, as an
          integral component of other financially related services, provides
          investment advice regarding securities to others for compensation as part of
          a business or that holds itself out as providing investment advice regarding
          securities to others for compensation.

       285.     South Carolina Code Ann. § 35-1-102(16), provides in relevant part:

          “Investment adviser representative” means an individual employed by or
          associated with an investment adviser or federal covered investment adviser
          and who makes any recommendations or otherwise gives investment advice
          regarding securities, manages securities accounts or portfolios of clients,
          determines which recommendation or advice regarding securities should be
          given, provides investment advice regarding securities or holds herself or
          himself out as providing investment advice regarding securities, receives
          compensation to solicit, offer, or negotiate for the sale of or for selling
          investment advice regarding securities, or supervises employees who
          perform any of the foregoing.

       286.     It is unlawful for a person to transact business in South Carolina as an investment


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adviser unless the person is registered under this chapter as an investment adviser or is exempt

from registration as an investment adviser. S. C. Code Ann. § 35-1-403(a).

       287.    It is unlawful for an individual to transact business in this State as an investment

adviser representative unless the individual is registered under this chapter as an investment

adviser representative or is exempt from registration as an investment adviser representative. S.

C. Code Ann. § 35-1-404(a).

       288.    Metals unlawfully acted as an investment adviser because Metals, for

compensation, engaged in the business of advising another, directly and/or through publications

or writings, with respect to the value of securities or to the advisability of investing in,

purchasing, or selling securities, despite not being registered as an investment adviser under the

Act, in violation of S.C. Code Ann. § 35-1-403(a).

       289.    Batashvili and Asher, as partners, officers, or directors of Metals, unlawfully

acted as investment adviser representatives because they, directly and through their sales

representatives or other agents, made recommendations or otherwise gave investment advice

regarding securities, managed securities accounts or portfolios of clients, determined which

recommendation or advice regarding securities should be given, provided investment advice

regarding securities or held herself or himself out as providing investment advice regarding

securities, received compensation to solicit, offer, or negotiate for the sale of or for selling

investment advice regarding securities, or supervised employees who perform any of the

foregoing, despite not being registered as an investment adviser representative under the Act, in

violation of S.C. Code Ann. § 35-1-404(a).

       290.    Therefore, Defendants violated the South Carolina Uniform Securities Act of
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2005.

                                           COUNT XXV

                                        Securities Fraud
                Violations of S.C. Code Ann. § 35-1-501(1)-(3) and § 35-1-502(a)

        291.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        292.    South Carolina Code Ann. § 35-1-501(1)-(3), provides in relevant part:

                It is unlawful for a person, in connection with the offer, sale, or
                purchase of a security, directly or indirectly:
                a. employed a device, scheme or artifice to defraud;
                b. made untrue statements of a material fact or omitted to state a
                     material fact necessary in order to make the statements made,
                     in light of the circumstances under which they were made, not
                     misleading; or
                c. engaged in acts, practices, or courses of business that operated
                     or would operate as a fraud or deceit upon another person.

        293.    The Defendants participated in the offer or sale of securities by means of a

scheme to defraud, with untrue statements of material fact or omissions to state material facts

necessary in order to make the statements, in light of the circumstances under which they were

made, not misleading (the buyers not knowing of the untruths or omissions), or engaged in acts,

practices, or courses of business that operated as a fraud on the investors. Therefore, Defendants

violated S.C. Code Ann. § 35-1-501(1)-(3).

        294.    South Carolina Code Ann. § 35-1-502(a), provides in relevant part:

                It is unlawful for a person that advises others for compensation, either directly or
                indirectly or through publications or writings, as to the value of securities or the
                advisability of investing in, purchasing, or selling securities or that, for
                compensation and as part of a regular business, issues or promulgates analyses or
                reports relating to securities:


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                (1) to employ a device, scheme, or artifice to defraud another
                person; or
                (2) to engage in an act, practice, or course of business that operates or would
                operate as a fraud or deceit upon another person

        295.    Metals and Barrick, acting through various officers, employees, or agents, and

Batashvili and Asher in connection with the rendering of investment advice, (1) employed a

device, scheme, or artifice to defraud another person; or (2) engaged in an act, practice, or course

of business that operated or would operate as a fraud or deceit upon another person. Therefore,

Defendants violated S.C. Code Ann. § 35-1-502(a).

        296.    Therefore, Defendants violated the South Carolina Uniform Securities Act of

2005.

                                          COUNT XXVI

                         Unlawful Solicitation and Sale of Commodities
                            Violations of S.C. Code Ann. § 39-73-20

        297.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        298.    South Carolina Ann. § 39-73-10(13), provides in relevant part:

          (4) “Commodity” means, except as otherwise specified by the administrator
          . . . a metal or mineral, including a precious metal, a gem, or gemstone
          whether characterized as precious, semi-precious, or otherwise . . .

          (9) “Commodity option” means an account, an agreement, or a contract
          giving a party the right but not the obligation to purchase or sell one or
          more commodities or one or more commodity contracts, or all of the
          foregoing, whether characterized as an option, privilege, indemnity, bid,
          offer, put, call, advance guaranty, decline guaranty, or otherwise. . . .

          (13) “Precious metal” means the following in either coin, bullion, or other
          form:
                      (a) silver;

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                      (b) gold;
                      (c) platinum;
                      (d) palladium;
                      (e) copper;
                      (f) other items the administrator may specify by regulation.


       299.    South Carolina Code Ann. § 39-73-20, provides in relevant part:

          Except as otherwise provided in Section 39-73-30 or Section 39-73-40 no
          person may sell or purchase or offer to sell or purchase a commodity under
          commodity contract or under commodity option or offer to enter into or
          enter into as seller or purchaser a commodity contract or a commodity
          option.

       300.    South Carolina Code Ann. 39-73-70, provides in relevant part:

          (A) The act, omission or failure of an official, an agent, or another person
          acting for an individual, an association, a partnership, a corporation, or a
          trust within the scope of his employment or office is deemed the act,
          omission or failure of the individual, association, partnership, corporation,
          or trust as well as of the official, agent, or other person.

          (B) Every person who directly or indirectly controls another person liable
          under this chapter, every partner, officer, or director of the other person,
          every person occupying a similar status or performing similar functions,
          every employee of the other person who materially aids in the violation also
          is liable jointly and severally with and to the same extent as the other
          person, unless the person who also is liable by virtue of this section sustains
          the burden of proof that he did not know and in exercise or reasonable care
          could not have known of the existence of the facts by reason of which the
          liability is alleged to exist.

       301.    Metals unlawfully solicited the sale of precious metals and sold precious metals to

South Carolina investors.

       302.    Metals has never been registered with the South Carolina Secretary of State’s

Office, nor has Metals submitted a notice filing with the South Carolina Secretary of State’s

Office at any time.


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        303.    Batashvili and Asher, directly and by and through their sales representatives or

other agents, unlawfully solicited the sale of precious metals and sold precious metals to South

Carolina investors, because Batashvili and Asher are employed, appointed, and/or authorized by

Metals to solicit the sale of precious metals and sell precious metals on behalf of Metals.

        304.    As a result of the foregoing conduct, Metals, Batashvili, and Asher violated S.C.

Code Ann. § 39-73-20.

        305.    Therefore, the Defendants violated the South Carolina State Commodity Code,

S.C. Code Ann. § 39-73-10, et. seq.

                                          COUNT XXVII

                                       Commodities Fraud
                         Violations of S.C. Code Ann. § 39-73-60 (1)-(4)

        306.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        307.    South Carolina Code Ann. § 39-73-60 (1)-(4), provides in relevant part that no

person, directly or indirectly, in or in connection with the purchase or sale of, the offer to sell, the

offer to purchase, the offer to enter into, or the entry into of, a commodity contract or commodity

option, may:

                a. Cheat or defraud, attempt to cheat or defraud, or employ a device, a scheme,
                   or an artifice to defraud;

                b. Make a false report, enter a false record, or make an untrue statement of
                   material fact or omit to state a material fact necessary in order to make the
                   statements made, in light of the circumstances under which they were made,
                   not misleading;

                c. Engage in a transaction, an act, a practice, or a course of business, including
                   without limitation a form of advertising or solicitation, which operates or
                   would operate as a fraud or deceit on Metals customers or potential customers;
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                   or

               d. misappropriate or convert the funds, security, or property of a person.

       308.    Metals, acting through various officers, employees, or other agents, and Batashvili

and Asher, in connection with the solicitation to sell and the sale of precious metals: (1) cheated

or defrauded, or attempted to cheat or defraud, another person or employed a device, scheme, or

artifice to defraud another person; (2) made a false report, entered a false record, or made an

untrue statement of a material fact or omitted to state a material fact necessary in order to make

the statements made, in the light of the circumstances under which they were made, not

misleading; (3) engaged in a transaction, act, practice, or course of business, including, without

limitation, any form of advertising or solicitation, which operated or would operate as a fraud or

deceit upon another person; or (4) misappropriated or converted the funds, security, or property

of another person, in connection with the solicitation of a purchase or sale of, the offer to sell, the

offer to purchase, the offer to enter into, or the entry into of any commodity contract or

commodity option.

       309.    Therefore, the Defendants violated the South Carolina State Commodity Code,

S.C. Code Ann. § 39-73-10, et. seq.




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                    XV. VIOLATIONS OF THE TEXAS SECURITIES ACT

                                      (Brought by Plaintiff State of Texas)

                                            COUNT XXVIII

          Unregistered Investment Adviser and Investment Adviser Representative
                     Violations of Tex. Rev. Civ. Stat. Ann. art. 581-12

        310.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        311.    The Texas Securities Act makes it unlawful for a person to act or render services

as an investment adviser or investment adviser representative in Texas, including rendering

investment advice, unless the person is registered under the Texas Securities Act.

        312.    The Texas Securities Act defines an investment adviser as “a person who, for

compensation, engages in the business of advising another, either directly or through

publications or writings, with respect to the value of securities or to the advisability of investing

in, purchasing, or selling securities . . . .”

        313.    The Texas Securities Act defines “investment adviser representative” as “each

person or company who, for compensation, is employed, appointed, or authorized by an

investment adviser to solicit clients for the investment adviser or who, on behalf of the

investment adviser, provides investment advice, directly or through subagents…to the

investment adviser’s clients.”

        314.    The acts, omissions, and failures of Asher and Batashvili and other officials,

agents, or persons acting for Metals described in this Complaint, including sales representatives

or other agents, have occurred within the scope of their employment or agency with Metals and


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are deemed to be the acts, omissions, and failures of Metals.

        315.    Metals, acting through various officers, employees, or agents, and Batashvili and

Asher, unlawfully acted as an investment adviser because Metals, for compensation, engaged in

the business of advising another, directly and/or through publications or writings, with respect to

the value of securities or to the advisability of investing in, purchasing, or selling securities.

        316.    Batashvili and Asher unlawfully acted as investment adviser representatives

because Batashvili and Asher, for compensation, are employed, appointed, and/or authorized by

Metals, an investment adviser, to solicit clients for Metals and they are providing investment

advice to Metals’ clients, on behalf of Metals.

        317.    Metals, Batashvili, and Asher did not register with the Commissioner nor did they

submit a notice filing with the Commissioner at any time.

        318.    These unlawful acts and practices of Metals, Batashvili, and Asher were

committed against Texas residents age 65 and older.

        319.    As a result of the foregoing unlawful conduct, Metals, Batashvili, and Asher

violated Article 581-12 of the Texas Securities Act and unless permanently enjoined are

reasonably likely to continue to violate the Texas Securities Act.

                                           COUNT XXIX

                                          Securities Fraud

        320.    The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

        321.    Article 581-32 of the Texas Securities Act makes it unlawful for a person to

engage in or about to engage in fraud or fraudulent practices in connection with the rendering of

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services as an investment adviser or investment adviser representative.

        322.    Article 581-4 of the Texas Securities Act defines “fraud” or “fraudulent practice”

to “include any misrepresentations, in any manner, of a relevant fact; any promise or

representation or predication as to the future not made honestly and in good faith, or an

intentional failure to disclose a material fact; the gaining, directly or indirectly, through the sale

of a security, of an underwriting or promotion fee or profit, selling or managing commission or

profit, so gross or exorbitant as to be unconscionable; any scheme device or other artifice to

obtain such profit, fee, or commission; provided, that nothing herein shall limit or diminish the

full meaning of the terms “fraud,” “fraudulent,” and “fraudulent practice” as applied or accepted

in courts of law or equity.”

        323.    The acts, omissions, and failures of Asher and Batashvili and other officials,

agents, or persons acting for Metals described in this Complaint, including sales representatives

or other agents, have occurred within the scope of their employment or agency with Metals and

are deemed to be the acts, omissions, and failures of Metals.

        324.    Metals, acting through various officers, employees, or other agents, and Batashvili

and Asher, in connection with the rendering of investment advice, have and continue to

intentionally fail to disclose the following material facts:

                a. Precious Metals Bullion involve considerable risk and market prices are at
                   times volatile and may be affected by economic conditions, political events,
                   and speculative activities; and

                b. Information about complaints, including complaints relating to fraudulent,
                   deceptive, and illegal practices sent, submitted, or otherwise levied by prior
                   investors.

        325.    Metals, acting through various officers, employees, or other agents, and Batashvili

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and Asher, in connection with the rendering of investment advice, have misrepresented and are

continuing to misrepresent relevant facts to potential investors. These misrepresentations

include:

                a. Metals does not charge fees for the purchase of Precious Metals Bullion;

                b. Potential investors only pay the retail prices of the Precious Metals Bullion;
                   and

                c. Advising potential investors that investments in Precious Metals Bullion are
                   safe and conservative investments but stating on their website and in their
                   Customer Agreements that investments in Precious Metals Bullion are not
                   safe and conservative investments.

       326.     These unlawful acts and practices of Metals, Batashvili, and Asher were

committed against Texas residents age 65 and older.

       327.     As a result of the foregoing unlawful conduct, Metals, Batashvili, and Asher have

engaged in and are engaging in fraud and fraudulent practices in connection with rendering

investment advice in violation of Article 581-32 the Texas Securities Act, and unless

permanently enjoined are reasonably likely to continue to engage in fraud or fraudulent practices

in connection with rendering investment advice in violation of the Texas Securities Act.


    XVI. DISGORGEMENT OF FUNDS FROM RELIEF DEFENDANT TOWER EQUITY

                                          COUNT XXX

                         Disgorgement of Funds from Relief Defendant

                                   (Brought by all Plaintiffs)

       328.     The allegations in the preceding paragraphs are re-alleged and incorporated herein

by reference.

       329.     During the Relevant Period, Relief Defendant Tower Equity received funds
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and/or property as a result of Defendants’ fraudulent conduct and has received benefits or

otherwise has been unjustly enriched thereby.

       330.    Relief Defendant Tower Equity has no legitimate entitlement to or interest in all

of the funds and/or property received as a result of the Defendants’ fraudulent conduct.

       331.    Relief Defendant Tower Equity should be required to disgorge funds and/or

property up to the amount it received from Defendants’ fraudulent conduct or the value of those

funds that it may have subsequently transferred to third parties.


                                 XVII. RELIEF REQUESTED

       332.    The CFTC and the States respectfully request that this Court, as authorized by

Section 6c of the CEA, 7 U.S.C. § 13a-1 (2018), Section 6d(1) of the CEA, 7 U.S.C. § 13a-2(1)

(2018), 28 U.S.C § 1367(1) (2018), and pursuant to its own equitable powers:

       A.      Find that Defendants violated Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1) (2018),

               and CFTC Regulation 180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2019);

       B.      Find that Defendants violated the laws of the States as set forth above;

       C.      Enter an order of permanent injunction enjoining Defendants and their affiliates,

               agents, servants, employees, successors, assigns, attorneys, and all persons in

               active concert with them, who receive actual notice of such order by personal

               service or otherwise, from violating 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-

               (3) and the laws of the States.

       D.      Enter an order of permanent injunction restraining and enjoining Defendants and

               their affiliates, agents, servants, employees, successors, assigns, attorneys, and all


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           persons in active concert with them, from directly or indirectly:

           1)     Trading on or subject to the rules of any registered entity (as that term is

                  defined by Section 1a(40) of the CEA, 7 U.S.C. § 1a(40) (2018));

           2)     Entering into any transactions involving “commodity interests” (as that

                  term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2019)), for accounts

                  held in the name of any Defendant or for accounts in which any Defendant

                  has a direct or indirect interest;

           3)     Having any commodity interests traded on any Defendant’s behalf;

           4)     Controlling or directing the trading for or on behalf of any other person or

                  entity, whether by power of attorney or otherwise, in any account

                  involving commodity interests;

           5)     Soliciting, receiving, or accepting any funds from any person for the

                  purpose of purchasing or selling of any commodity interests;

           6)     Applying for registration or claiming exemption from registration with the

                  CFTC in any capacity, and engaging in any activity requiring such

                  registration or exemption from registration with the CFTC except as

                  provided for in CFTC Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9)

                  (2019);

           7)     Acting as a principal (as that term is defined in CFTC Regulation 3.1(a),

                  17 C.F.R. § 3.1(a) (2019)), agent, or any other officer or employee of any

                  person registered, exempted from registration, or required to be registered

                  with the CFTC except as provided for in 17 C.F.R. § 4.14(a)(9) (2019);
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                  and

           8)     Acting as a broker-dealer or investment adviser or associating with a

                  licensed broker-dealer or investment adviser, in violation of the laws of

                  the States.

      E.   Enter an order directing Defendants as well as any third-party transferee and/or

           successors thereof, to disgorge, pursuant to such procedure as the Court may

           order, all benefits received including, but not limited to, salaries, commissions,

           loans, fees, revenues, and trading profits derived, directly or indirectly, from acts

           or practices which constitute violations of the CEA or CFTC Regulations or the

           Laws of the States, as described herein, during the Relevant Period, including pre-

           judgment and post-judgment interest;

      F.   Enter an order directing Relief Defendant Tower Equity, including any third-party

           transferee and/or successors thereof, to disgorge, pursuant to such procedure as

           the Court may order, all benefits received including, but not limited to, funds,

           salaries, commissions, loans, fees, revenues, and trading profits derived, directly

           or indirectly, from acts or practices which constitute violations of the CEA or

           CFTC Regulations, or the laws of the States, including pre-judgment and post-

           judgment interest;

      G.   Enter an Order requiring Defendants to make restitution, pursuant to such

           procedure as the Court may order, to persons who have sustained losses

           proximately caused by Defendants’ violations of the CEA or CFTC Regulations,

           or the laws of the States, as described herein, including pre-judgment and post-
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           judgment interest;

      H.   Enter an order directing Defendants to rescind, pursuant to such procedures as the

           Court may order, all contracts and agreements, whether implied or express,

           entered into between Defendants and any of the investors whose funds were

           received by Defendants as a result of Defendants’ violations of the CEA or CFTC

           Regulations, or the laws of the States, as described herein;

      I.   Enter an order directing Defendants to pay a civil monetary penalty assessed by

           the Court, in an amount not to exceed the penalty prescribed by Section 6c(d)(1)

           of the CEA, 7 U.S.C. § 13a-1(d)(1) (2018), as adjusted for inflation pursuant to

           the Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015,

           Pub. L. 114-74, title VII, § 701, 129 Stat. 584, 599-600, see Regulation 143.8,

           17 C.F.R. § 143.8 (2019), for each violation of the CEA or CFTC Regulations,

           and pay civil monetary penalties and/or damages pursuant to the laws of the

           States during the Relevant Period;

      J.   Enter an order requiring Defendants to pay costs and fees as permitted by

           28 U.S.C. §§ 1920 and 2413(a)(2) (2018) and the laws of the States;

      K.   Enter an order appointing a temporary and permanent receiver; and

      L.   Enter an order providing such other and further relief as this Court may deem

           necessary and appropriate under the circumstances.




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                          EXHIBIT B
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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 COMMODITY FUTURES TRADING
 COMMISSION, and                      CONSENT ORDER OF
                                      PRELIMINARY INJUNCTION AND
 ALABAMA SECURITIES COMMISSION,       OTHER EQUITABLE RELIEF
 STATE OF ALASKA, ARIZONA             AGAINST DEFENDANTS LUCAS
 CORPORATION COMMISSION,              THOMAS ERB a/k/a LUCAS ASHER
 CALIFORNIA COMMISSIONER OF           a/k/a LUKE ASHER AND SIMON
 BUSINESS OVERSIGHT, COLORADO         BATASHVILI
 SECURITIES COMMISSIONER, STATE
 OF DELAWARE, STATE OF FLORIDA,
 OFFICE OF THE ATTORNEY GENERAL,
 STATE OF FLORIDA, OFFICE OF          Case No.: 3:20-CV-2910-L
 FINANCIAL REGULATION, OFFICE OF
 THE GEORGIA SECRETARY OF STATE,
 STATE OF HAWAII, SECURITIES
 ENFORCEMENT BRANCH, IDAHO
 DEPARTMENT OF FINANCE, INDIANA
 SECURITIES COMMISSIONER, IOWA
 INSURANCE COMMISSIONER
 DOUGLAS M. OMMEN, OFFICE OF THE
 KANSAS SECURITIES COMMISSIONER,
 KENTUCKY DEPARTMENT OF
 FINANCIAL INSTITUTIONS, MAINE
 SECURITIES ADMINISTRATOR, STATE
 OF MARYLAND EX REL MARYLAND
 SECURITIES COMMISSIONER,
 ATTORNEY GENERAL DANA NESSEL
 ON BEHALF OF THE PEOPLE OF
 MICHIGAN, MISSISSIPPI SECRETARY
 OF STATE, NEBRASKA DEPARTMENT
 OF BANKING & FINANCE, OFFICE OF
 THE NEVADA SECRETARY OF STATE,
 NEW MEXICO SECURITIES DIVISION,
 THE PEOPLE OF THE STATE OF NEW
 YORK BY LETITIA JAMES, ATTORNEY
 GENERAL OF THE STATE OF NEW
 YORK, OKLAHOMA DEPARTMENT OF
 SECURITIES, SOUTH CAROLINA
 ATTORNEY GENERAL, SOUTH
 CAROLINA SECRETARY OF STATE,
 SOUTH DAKOTA DEPARTMENT OF
 LABOR & REGULATION, DIVISION OF
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 INSURANCE, COMMISSIONER OF THE
 TENNESSEE DEPARTMENT OF
 COMMERCE AND INSURANCE, STATE
 OF TEXAS, WASHINGTON STATE
 DEPARTMENT OF FINANCIAL
 INSTITUTIONS, WEST VIRGINIA
 SECURITIES COMMISSION, AND STATE
 OF WISCONSIN.

  Plaintiffs,

 v.

 TMTE, INC. a/k/a METALS.COM, CHASE
 METALS, INC., CHASE METALS, LLC,
 BARRICK CAPITAL, INC., LUCAS
 THOMAS ERB a/k/a LUCAS ASHER a/k/a
 LUKE ASHER, and SIMON BATASHVILI,

  Defendants;

 and

 TOWER EQUITY, LLC,

  Relief Defendant.


         1.     On September 22, 2020, Plaintiffs Commodity Futures Trading Commission,

 Alabama Securities Commission, State of Alaska, Arizona Corporation Commission, California

 Commissioner of Business Oversight, Colorado Securities Commissioner, State of Delaware,

 State of Florida, Office of the Attorney General and State of Florida, Office of Financial

 Regulation, Office of the Georgia Secretary of State, State of Hawaii, Securities Enforcement

 Branch, Idaho Department of Finance, Indiana Securities Commissioner, Iowa Insurance

 Commissioner Douglas M. Ommen, Office of the Kansas Securities Commissioner, Kentucky

 Department of Financial Institutions, Maine Securities Administrator, State of Maryland Ex Rel

 the Maryland Securities Commissioner, Attorney General Dana Nessel on Behalf of the People



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 of Michigan, Mississippi Secretary of State, Nebraska Department of Banking & Finance, Office

 of the Nevada Secretary of State, New Mexico Securities Division, The People of the State of

 New York by Letitia James, Attorney General of the State of New York, Oklahoma Department

 of Securities, South Carolina Attorney General and South Carolina Secretary of State, South

 Dakota Department of Labor & Regulation, Division of Insurance, Commissioner of the

 Tennessee Department of Commerce and Insurance, State of Texas, Washington State

 Department of Financial Institutions, West Virginia Securities Commission, and State of

 Wisconsin filed a Complaint for Injunctive Relief, Civil Monetary Penalties, and Other Equitable

 Relief against Defendants TMTE, Inc., d/b/a Metals.com, Chase Metals, LLC, Chase Metals,

 Inc., (collectively “Metals”), Barrick Capital, Inc. (“Barrick”) and their principals, Lucas

 Thomas Erb a/k/a Lucas Asher a/k/a Luke Asher (“Asher”), and Simon Batashvili

 (“Batashvili”). (Docket Entry (“D.E.”) #2).

        2.      Contemporaneously with the filing of the Complaint, Plaintiffs moved the Court

 on an emergency, ex parte basis, for an order, pursuant to Section 6c(a) of the Commodity

 Exchange Act (“CEA”), 7 U.S.C. § 13a-1 (2018) and in accordance with Federal Rule of Civil

 Procedure 65, that: 1) freezes the assets of Defendants and Relief Defendant, (2) grants the

 CFTC and the States immediate access to the books, records, and other documents of Defendants

 and Relief Defendant and the authority to inspect and copy such records; (3) appoints a

 temporary receiver; and (4) grants Plaintiffs’ motion for expedited discovery in advance of a

 preliminary injunction hearing. (D.E. # 4-6; 11-12; 16).

        3.      On September 22, 2020, the Court granted Plaintiffs’ motion for emergency relief

 and entered a Statutory Restraining Order (“SRO”) (D.E. #16). The SRO: (1) prohibits

 Defendants from withdrawing, transferring, removing, dissipating, and disposing of assets; (2)



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 prohibits Defendants from destroying, altering, or disposing of books, records, and other

 documents; (3) appoints Kelly Crawford of Scheef & Stone, LLP as temporary receiver for

 Defendants and Relief Defendant and (4) grants expedited discovery in advance of a preliminary

 injunction hearing. The SRO also set a hearing on preliminary injunction relief on October 6,

 2020 and directed that SRO remain in full force and effect until to October 6, 2020 at 5:00 pm.

        4.      On October 5, 2020, the Court continued the hearing on Plaintiffs’ application for

 a preliminary injunction to October 27, 2020 and directed that SRO remain in full force and

 effect until to October 27, 2020 at 5 p.m. (D.E. #148).

        5.      On September 24, 2020, Plaintiffs properly served Defendant Batashvili. (D.E.

 #127) and on September 26, 2020, Plaintiffs properly served Asher (D.E. #126).

        6.      Defendants Asher and Batashvili, without admitting or denying the allegations in

 the Complaint, except for allegations relating to venue and the Court’s jurisdiction over the

 parties and over the subject matter of this action, to which Asher and Batashvili admit, consent

 to the entry of this Order for Preliminary Injunction (“Order”) as set forth herein.

        7.      Defendants Asher and Batashvili enter into this Order voluntarily, and no promise

 or threat has been made by the Plaintiffs, or any member, officer, agent, or representative of the

 Plaintiffs to induce Defendants Asher and Batashvili to consent to this Order.

        8.      In consideration of the foregoing, and based on the entire record in this case, the

 Court finds that there is good cause to believe that a preliminary injunction is proper in this case

 to preserve the status quo; prevent the withdrawal, transfer, removal, dissipation or disposal of

 assets; prevent the destruction, alteration, or disposal of books and records and other documents;

 protect members of the public from loss and damage, and enable the Plaintiffs to fulfill their

 statutory duties in this civil enforcement action.



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         9.      The Court hereby grants the Motion on the terms and conditions to which

 Plaintiffs and Defendants Asher and Batashvili have stipulated, as set forth below.

                                          I.      DEFINITIONS

 For the purposes of this Order, the following definitions apply:

         9.      The terms “funds, assets, or other property” encompass any legal or equitable

 interest in, right to, or claim to, any real or personal property, whether individually or jointly,

 directly or indirectly controlled, and wherever located, including but not limited to: chattels,

 goods, instruments, equipment, fixtures, general intangibles, effects, leaseholds mail or other

 deliveries, inventory, checks, notes, accounts (including, but not limited to, bank accounts and

 accounts at other financial institutions), credits, receivables, lines of credit, contracts (including

 spot, futures, options, or swaps contracts), insurance policies, and all funds, wherever located,

 whether in the United States or outside the United States.

         10.     The term “document” and “electronically stored information” are synonymous in

 meaning and equal in scope to the usage of those terms in Fed. R. Civ. P. 34(a), and includes, but

 are not limited to, all writings, graphs, charts, photographs, sound recordings, images, and other

 data or other data compilations–stored in any medium from which information can be obtained

 or translated, if necessary, into reasonable usable form. The terms “document” and

 “electronically stored information” also refer to each and every such item in Defendants’ actual

 or constructive possession, including but not limited to: (i) all such items within the custody or

 control of any agents, employers, employees, or partners of the Defendants; and (ii) all items

 which Defendants have a legal or equitable right to obtain from another person. A draft or non-

 identical copy is a separate item within the meaning of the term. A document also includes the

 file and folder tabs associated with each original and copy.



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                                         II.     RELIEF GRANTED

     THE PARTIES AGREE AND IT IS HEREBY ORDERED that:

I.      Jurisdiction and Venue

            10.     Defendants Asher and Batashvili have been properly served with the Complaint

 and Summons and have consented to the entry of this Order.

            11.     The Court is authorized to enter a preliminary injunction and ancillary equitable

 relief against Defendants Asher and Batashvili pursuant to 7 U.S.C. §§ 13a-1, 13a-2 and the

     laws of the States.

            12.     This Court has jurisdiction over the parties and over the subject matter of this

     action pursuant to 28 U.S.C. § 1331 (2018) (federal question jurisdiction) and 28 U.S.C. § 1345

     (2018) (district courts have original jurisdiction over civil actions commenced by the United

  States or by any agency expressly authorized to sue by Act of Congress), as well as 28 U.S.C.

  § 1367(a) (supplemental jurisdiction over claims under the laws of the States).

            13.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

  (2018) (federal question jurisdiction) and 28 U.S.C. § 1345 (2018) (district courts have original

  jurisdiction over civil actions commenced by the United States or by any agency expressly

  authorized to sue by Act of Congress).

            14.     7 U.S.C. § 13a-1(a) (2018), authorizes the CFTC to seek injunctive and other

  relief against any person whenever it appears to the CFTC that such person has engaged, is

  engaging, or is about to engage in any act or practice constituting a violation of any provision of

  the CEA or any rule, regulation, or order thereunder.

            15.     7 U.S.C. § 13a-2(1) (2018), authorizes the States to bring a suit in the district

  courts of the United States to seek injunctive and other relief against any person whenever it



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   appears to the Attorney General and/or Securities Administrator of a State, or such other official

   that a State may designate, that the interests of the residents of the State have been, are being, or

   may be threatened or adversely affected because of violations of the CEA or CFTC Regulations.

           16.     Venue lies properly in this District pursuant to 7 U.S.C. § 13a-1(e) (2018),

   because Defendants transacted business in this District, and certain of the acts and practices in

   violation of the CEA, the CFTC Regulations, and State laws occurred, are occurring, or are about

   to occur within this District, among other places. Venue also lies properly in this District

   pursuant to 17 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions giving

   rise to the Plaintiffs’ claims occurred in this District.

           17.     The Parties waive the entry of findings of fact and conclusions of law for

   purposes of this Order pursuant to Rule 52 of the Federal Rules of Civil Procedure, and the Court

   accepts that waiver.


II.    Prohibitions from Violating the CEA, CFTC Regulations and the Laws of the States

           18.     Defendants Asher and Batashvili and their agents, servants, employees, assigns,

   attorneys, and persons in active concert or participation with them, including any successors

   thereof, who receive actual notice of this Order by personal service or otherwise, are

   preliminarily restrained and enjoined from directly or indirectly violating 7 U.S.C. § 9(1) and 17

   C.F.R. § 1801.1(a)(1)-(3).

           19.     Defendants Asher and Batashvili and their agents, servants, employees, assigns,

   attorneys, and persons in active concert or participation with them, including any successors

   thereof, who receive actual notice of this Order by personal service or otherwise, are

   preliminarily restrained and enjoined from directly or indirectly violating:

                       a. § 8-6-3(b) and (c), Code of Alabama (1975)

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               b. § 8-6-17(b)(2), Code of Alabama (1975)

               c. § 8-6-17(a)(2), Code of Alabama (1975)

               d. § 13A-6-195, Code of Alabama (1975)

               e. Alaska Stat. § 45.50.471

               f. Cal. Corp. Code, § 25230

               g. Cal. Corp. Code § 25235

               h. Cal. Corp. Code, § 29536

               i. §§ 11-53-107(1)(a)-(c), C.R.S.

               j. §§ 11-51-501(1)(a), (b) and (c), C.R.S.

               k. Fla. Stat. § 501.204

               l. Fla. Stat. § 517.275

               m. Ga. Code Ann. § 10-5-32

               n. Ga. Code Ann § 10-5-33

               o. Ga. Code Ann. § 10-5-51

               p. Ga. Code Ann. § 10-5A-2

               q. Ga. Code Ann. § 10-5A-6

               r. KRS 292.330(8)

               s. KRS 292.320(1)

               t. Md. Code, Corps. & Assn’s § 11-401(b)(1)

               u. Md. Corps. & Assn’s § 11-402(b)(1)

               v. Md. Code, Corps. & Assn’s § 11-301(2)-(3);

               w. Md. Code, Corps. & Assn’s § 11-302(a)(2)-(3), (c), and COMAR
                  02.02.05.03;

               x. S.C. Code Ann. § 35-1-403 to 35-1-404

               y. S.C. Code Ann. § 35-1-501(1)-(3) and § 35-1-502(a)

               z. S.C. Code Ann. § 39-73-20
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                    aa. S.C. Code Ann. § 39-73-60 (1)-(4)

                    bb. Tex. Rev. Civ. Stat. Ann. art. 581-12

                    cc. Tex. Rev. Civ. Stat. Ann. art. 581-32

        20.     Pending further order of the Court, Defendants Asher and Batashvili and their

 affiliates, agents, servants, employees, successors, assigns, attorneys, and all persons in active

 concert with them, directly or indirectly, are restrained and enjoined from:

                    a. Trading on or subject to the rules of any registered entity (as that term is
                        defined by 7 U.S.C. § 1a(40) (2018));

                    b. Entering into any transactions involving “commodity interests” (as that
                        term is defined in Regulation 1.3, 17 C.F.R. § 1.3), for accounts held in
                        the name of any Defendant or Relief Defendant or for accounts in which
                        any Defendant or Relief Defendant has a direct or indirect interest;

                    c. Having any commodity interests traded on any Defendants’ or Relief
                        Defendant’s behalf;

                    d. Controlling or directing the trading for or on behalf of any other person or
                        entity, whether by power of attorney or otherwise, in any account
                        involving commodity interests;

                    e. Soliciting, receiving, or accepting any funds from any person for the
                        purpose of purchasing or selling of any commodity interests;

                    f. Applying for registration or claiming exemption from registration with the
                        CFTC in any capacity, and engaging in any activity requiring such
                        registration or exemption from registration with the CFTC except as
                        provided for in CFTC Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9);

                    g. Acting as a principal (as that term is defined in CFTC Regulation 3.1(a),
                        17 C.F.R. § 3.1(a)), agent, or any other officer or employee of any person
                        registered, exempted from registration, or required to be registered with

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                              the CFTC except as provided for in 17 C.F.R. § 4.14(a)(9); and

                          h. Acting as a broker-dealer or investment adviser or associating with a
                              licensed broker-dealer or investment adviser, in violation of the laws of
                              the States.

                          i. Soliciting, receiving, or accepting any funds from any person for the
                              purpose of purchasing or selling securities or equities.

III.      Asset Freeze Order Prohibiting the Withdrawal, Transfer, Removal, Dissipation, and
          Disposal of Assets

              21.     The SRO (D.E. #16) shall remain in full force and effect.

              22.     The injunctive provisions of this Order shall be binding upon Defendants Asher

       and Batashvili, and upon any person acting in the capacity of agents, servants, employees,

       assigns, attorneys, and persons in active concert or participation with them, including any

       successors thereof, of Defendants Asher and Batashvili, and upon any person who receives

       actual notice of this Order by personal service or otherwise insofar as he or she is acting in active

       concert or participation with Defendants Asher and Batashvili.

              23.     Defendants Asher and Batashvili and their agents, servants, employees, assigns,

       attorneys, and persons in active concert or participation with them, including any successor

       thereof, who receive actual notice of this Order by personal service or otherwise, are

       immediately restrained and enjoined, except as otherwise ordered by this Court, from directly or

       indirectly withdrawing, transferring, removing, dissipating, or otherwise disposing of any of their

       funds, assets, or other property, wherever located, including the Defendants Asher and

       Batashvili’s funds, assets, or other property held outside the United States, in accordance with

       the Court’s SRO and this Order.




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        24.     At the request of the Receiver, Defendants Asher and Batashvili and any other

 person who has possession, custody, or control of any of Defendants Asher’s and Batashvili’s

 assets shall transfer possession of all funds, assets or other property subject to this Order to the

 Receiver in accordance with SRO and this Order.

        25.     The funds, assets, or other property affected by this Order shall include both

 existing funds, assets, or other property, and funds, assets, or other property acquired after the

 effective date of this Order, except as described in Sections VIII and IX of this Order.

 IV.    Maintenance of and Access to All Records That Relate to the Business Activities and
        Business and Personal Finances

        26.     Defendants Asher and Batashvili are restrained from directly or indirectly

 destroying, altering, or disposing of, in any manner, any records that relate or refer to the

 business activities or business or personal finances of any Defendant or Relief Defendant in

 accordance with the Court’s SRO and this Order.

        27.     Representatives of the Plaintiffs shall, with 24 hours’ notice, be allowed access to

 inspect the records that relate or refer to business activities and business and personal finances of

 Defendants Asher and Batashvili, including, but not limited to, both hard-copy documents and

 electronically stored information, wherever they may be situated and whether they are in the

 possession of the Defendants Asher and Batashvili or others. To ensure preservation and

 facilitate meaningful inspection and review of records, the Defendants Asher and Batashvili shall

 allow representatives of the Plaintiffs to make copies of said documents and electronically stored

 information, and if on-site copying of documents and electronically stored information is not

 practicable, representatives may make such copies off-site. After any such off-site copying,

 Plaintiffs shall promptly return the original documents and devices upon which electronic

 information is stored.

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        21.     To further facilitate meaningful inspection and review, Defendants Asher and

  Batashvili shall promptly provide Plaintiffs with:

                    a. the location of all records relating or referring to the business activities
                        and business and personal finances of the Defendants Asher and
                        Batashvili;

                    b. all identification numbers and other identifying information for websites,
                        cloud storage services, email and smartphone accounts, and all accounts at
                        any bank, financial institution or brokerage firm (including any
                        introducing broker or futures commission merchant) owned, controlled or
                        operated by the Defendants Asher and Batashvili, or to which the
                        Defendants Asher and Batashvili have access; and

                    c. all passwords to, and the location, make and model of, all computers
                        and/or mobile electronic devices owned and/or used by the Defendants
                        Asher and Batashvili in connection with their business activities and
                        business and personal finances.

        22.     When inspecting records that are subject to this Order, including those contained

 on computer(s) and/or other electronic device(s), Plaintiffs should undertake reasonable

 measures to prevent review of Defendants Asher and Batashvili privileged communications by

 Plaintiffs’ attorneys and other staff who are part of the litigation team in this matter. Moreover,

 the Defendants Asher and Batashvili (or their counsel) shall promptly contact Plaintiffs’ counsel

 to assert any claims of privilege or other legal objection relating to the contents of any records

 that are subject to this Order and promptly cooperate with Plaintiffs’ counsel to develop

 reasonable protocols to isolate and prevent disclosure of claimed privileged materials to

 Plaintiffs’ attorneys and other staff who are part of the litigation team in this matter. However,

 nothing herein shall excuse Defendants Asher and Batashvili from full and immediate


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 compliance with this Court’s Order permitting Plaintiffs to inspect the books and records which

 relate to the Defendants Asher’s and Batashvili’s business activities and their business and

 personal finances.

          23.   Nothing herein shall preclude Plaintiffs from providing materials obtained from

 Defendants Asher and Batashvili to any other government agency pursuant to a lawful access

 request by such agency.

  V.      Appointment of Receiver

          28.   Kelly Crawford, previously appointed by the Court as Temporary Receiver

 pursuant to the SRO, is appointed Receiver with the full powers of an equity receiver for

 Defendants and Relief Defendant and their affiliates or subsidiaries owned or controlled by

 Defendants or Relief Defendant (hereinafter referred to as the “Receivership Defendants”), and

 of all records, and all funds, properties, premises, accounts, income, now or hereafter due or

 owing to the Receivership Defendants, and other assets directly or indirectly owned, beneficially

 or otherwise, by the Receivership Defendants.

          29.   The Receiver shall be the agent of this Court in acting as Receiver under this

 Order.

          30.   The directions, authorizations, duties, and powers of the Temporary Receiver

 under the SRO are granted in full to the Receiver, Kelly Crawford, and incorporated in full

 herein as part of the Order.

 VI.      Cooperation with the Receiver

          31.   Defendants Asher and Batashvili and all other persons or entities served with a

 copy of this order shall cooperate fully with and assist the Receiver. This cooperation and

 assistance shall include, but not be limited to, providing any information to the Receiver that the



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 Receiver deems necessary to exercising the authority as provided in this Order; providing any

 password required to access any computer or electronic files in any medium; and discharging the

 responsibilities of the Receiver under this Order, and advising all persons who owe money to the

 Receivership Defendants that all debts should be paid directly to the Receiver.

 VII.   Turning Over Property to the Receiver

        32.     Upon service of this Order, and to the extent the Defendants Asher and Batashvili

 have not done so pursuant to the SRO, Defendants Asher and Batashvili, and any other person

 or entity served with a copy of this Order, shall immediately or within such time as permitted by

 the Receiver in writing, deliver over to the Receiver, including but not limited to:

                    a. Possession and custody of all funds, assets, property, and all other assets,
                        owned beneficially or otherwise, wherever situated, of the Receivership
                        Defendants;

                    b. Possession and custody of records of the Receivership Defendants in
                        connection with their business activities and business and personal
                        finances, including but not limited to, all books and records of accounts,
                        all financial and accounting records, balance sheets, income statements,
                        bank records (including monthly statements, canceled checks, records of
                        wire transfers, and check registers), client lists, title documents and other
                        records of the Receivership Defendants;

                    c. Possession and custody of all funds and other assets belonging to members
                        of the public now held by the Receivership Defendants;

                    d. All keys, computer or cloud computing passwords, entry codes, and
                        combinations to locks necessary to gain or to secure access to any of the
                        assets or records of the Receivership Defendants, including but not limited
                        to, access to the Receivership Defendants’ business premises, means of
                        communication, accounts, computer systems, mobile electronic devices or


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                        other property; and

                    e. Information identifying the accounts, employees, properties or other assets
                        or obligations of the Receivership Defendants.

VIII.   Reasonable and Necessary Living Expenses

        33.     In accordance with Paragraph 44 of the SRO, Plaintiffs are authorized to take an

 asset deposition of Asher and Batashvili to determine the status of Defendants Asher’s and

 Batashvili’s financial condition, including but not limited to their funds, assets, and other

 tangible or real property, their compliance with the SRO to date, and their reasonable and

 necessary living expenses. The Receiver is authorized to attend and participate in these asset

 depositions in accordance with Paragraph 31(j) of the SRO.

        34.     Within five business days of the conclusion of the asset depositions, the parties

 will negotiate in good faith for a carve-out for reasonable and necessary living expenses—on a

 monthly basis—to be generated solely from any prospective earnings, bonuses, and/or other

 after-acquired income from newfound employment as described in Section IX, infra.

        35.     The Court will entertain an application for reasonable and necessary living

 expenses upon proper written submission by Defendants Asher and Batashvili. A proper

 submission requires that Defendants Asher and Batashvili file such application under oath with

 the Court and set forth in detail, fully substantiated by all relevant financial documentation, the

 amount of funds necessary to pay reasonable and necessary living expenses, a description of the

 expenses for which those funds are to be applied, a description of the assets sought to be used to

 pay such expenses, and a description of the derivation of such assets. Plaintiffs and/or the

 Receiver may object or otherwise respond to such application.




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 IX.     Restricted Business Activities and Employment

         36.     Defendants Asher and Batashvili wish to seek gainful employment to cover their

 reasonable and necessary living expenses.

         37.     Only specific prospective earnings, bonuses, and/or other after-acquired income,

 salary, wages, commissions, dividends, draws, or other forms of compensation or passive income

 from any newfound employment or activity (“New Income”) will be excluded from the restraints

 imposed by the Order for the limited purpose of covering Defendants Asher ’s and Batashvili’s

 agreed-to reasonable living expenses pursuant to the process described in Section VIII, supra,

 and subject to the restrictions in this Section.

         38.     Defendants Asher and Batashvili agree that they will not engage in any activity

 related to securities, commodities, or derivatives, including but not limited to soliciting,

 receiving, or accepting any funds from any person or entity for the purpose of purchasing,

 selling, or otherwise investing in precious metals, securities, commodities, derivatives, virtual

 currency, binary options, or foreign currency or receive any income, salary, wages, commissions,

 dividends, draws, or other forms of compensation or passive income from any person or entity

 engaged in said activities.

         39.     Within two days of securing any New Income, Defendants Asher and Batashvili

 shall provide the name and address of the employer, person, or entity, as well the name of a

 contact person and telephone number from its personnel office to Plaintiffs and the Receiver.

         40.     Within ten days of this Order, Defendants Asher and Batashvili shall each open a

 single new bank account in his name to deposit any New Income, and to withdraw such funds for

 reasonable and necessary living expenses as ordered by the Court. The Receiver shall be a co-

 owner and have unfettered access to these new accounts. Within twenty-four (24) hours of



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 opening such a new bank account, Defendants Asher and Batashvili shall provide complete

 information to the Receiver about the account, including the name of the bank, address,

 telephone number, and account number.

        41.       Any and all other bank accounts in the name of any Defendant or Relief

 Defendant shall remain subject to terms of the Order that prohibit Defendants or Relief

 Defendant from transferring, removing, dissipating, or otherwise disposing of any asset.

        42.     All dispositions of funds from the new bank account authorized by this Order,

 until further order of the Court, shall also be subject to monitoring by the Receiver. The

 Receiver is authorized to obtain copies of any and all bank statements.

  X.    Persons Bound by This Order

        43.     This Order is binding on any person who receives actual notice of this Order by

 personal service or otherwise and is acting in the capacity of an officer, agent, servant, employee,

 or attorney of Defendants or Relief Defendant, or is in active concert or participation with the

 Defendants or Relief Defendant.

 XI.    Stay on Actions Against the Receivership Defendants

        44.     Except by leave of the Court, during the pendency of the receivership ordered

 herein, Defendants Asher and Batashvili, and all other persons and entities are stayed from

 taking any action (other than the present action by Plaintiffs) to establish or enforce any claim,

 right or interest for, against, on behalf of, in, or in the name of, the Receivership Defendants, the

 Receiver, receivership assets, or the Receiver’s duly authorized agents acting in their capacities

 as such, including but not limited to, the following actions:

                    a. Petitioning, or assisting in the filing of a petition that would cause the
                        Receivership Defendants to be placed in bankruptcy;

                    b. Commencing, prosecuting, litigating or enforcing any suit or proceeding
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                  against any of the Receivership Defendants, or any of their subsidiaries or
                  affiliates, except that such actions may be filed to toll any applicable
                  statute of limitations;

               c. Commencing, prosecuting, continuing or entering any suit or proceeding
                  in the name or on behalf of any of the Receivership Defendants, or any of
                  their subsidiaries or affiliates;

               d. Accelerating the due date of any obligation or claimed obligation,
                  enforcing any lien upon, or taking or attempting to take possession of, or
                  retaining possession of, property of the Receivership Defendants, or any of
                  their subsidiaries or affiliates, or any property claimed by any of them, or
                  attempting to foreclose, forfeit, alter or terminate any of the Receivership
                  Defendants’ interests in property, including without limitation, the
                  establishment, granting, or perfection of any security interest, whether
                  such acts are part of a judicial proceeding or otherwise;

               e. Using self-help or executing or issuing, or causing the execution or
                  issuance of, any court attachment, subpoena, replevin, execution or other
                  process for the purpose of impounding or taking possession of or
                  interfering with, or creating or enforcing a lien upon any property,
                  wherever located, owned by or in the possession of the Receivership
                  Defendants, or any of their subsidiaries or affiliates, or the Receiver, or
                  any agent of the Receiver; and

               f. Doing any act or thing whatsoever to interfere with the Receiver taking
                  control, possession or management of the property subject to the
                  receivership, or to in any way interfere with the Receiver or to harass or
                  interfere with the duties of the Receiver; or to interfere in any manner with
                  the exclusive jurisdiction of this Court over the property and assets of the
                  Receivership Defendants, or their subsidiaries or affiliates.




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         45.    Provided, however, that nothing in this section shall prohibit any federal or state

 law enforcement or regulatory authority from commencing or prosecuting an action against the

 Receivership Defendants.

XII.     Bond Not Required of Plaintiffs or the Receiver

         46.    As Plaintiffs CFTC and the States have made a proper showing under 7 U.S.C.

 § l 3a- l (b) and they are not required to post any bond in connection with this Order. The

 Receiver similarly is not required to post bond.

XIII.    Force and Effect

         4 7.   This Order shall remain in full force and effect until further order of this Court,

 and that this Court retains jurisdiction of this matter for all purposes.


 IT SO ORDERED, at Dallas, Texas, on this 14th day of October, 2020, at 4:00 p.m.



                                                         Sam A. Lindsay
                                                         United States District Judge


 CONSENTED TO AND APPROVED BY DEFENDANTS:


                                                               Dated:     10/12/20
 Lucas          . Asher


                                                               Dated: -------
 Simon Batashvili


 Approved as to form:


                                                               Dated:
 Amkbrt.,0�
 Counsel lo Defendan/s Asher and Balashvili

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          45.     Provided, however, that nothing in this section shall prohibit any federal or state

  law enforcement or regulatory authority from commencing or prosecuting an action against the

  Receivership Defendants.

 XII.     Bond Not Required of Plaintiffs or the Receiver

          46.    As Plaintiffs CFTC and the States have made a proper showing under 7 U .S.C.

  § 13a-1 (b) and they are not required to post any bond in connection with this Order. The

  Receiver similarly is not required to post bond.

 XIII.    Force and Effect

         47.     This Order shall remain in full force and effect until further order of this Court,

  and that this Court retains jurisdiction of this matter for all purposes.


  IT SO ORDERED, at Dallas, Texas, on this 14th day of October, 2020, at 4:00 p.m.



                                                      Sam A. Lindsay
                                                      United States District Judge


  CONSENTED TO AND APPROVED BY DEFENDANTS:


                                                              Dated: -------
  Lucas Thomas Asher

£i;f>I
  Simon BatasHvm
                                                              Dated:    I     Q . \ {J -         2_
  Approved as to form:



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  Counsel to Defendants Asher and Batashvili
                                                              Dated:




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 CONSENTED TO AND APPROVED BY PLAINTIFFS:



 Dated: October 8, 2020
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                      EXHIBIT C
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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

  COMMODITY FUTURES TRADING
  COMMISSION, and                      CONSENT ORDER OF PRELIMINARY
                                       INJUNCTION AND OTHER
  ALABAMA SECURITIES COMMISSION,       EQUITABLE RELIEF AGAINST
  STATE OF ALASKA, ARIZONA             TMTE, INC. a/k/a METALS.COM,
  CORPORATION COMMISSION,              CHASE METALS, INC., CHASE
  CALIFORNIA COMMISSIONER OF           METALS, LLC, BARRICK CAPITAL,
  BUSINESS OVERSIGHT, COLORADO         INC., AND RELIEF DEFENDANT
  SECURITIES COMMISSIONER, STATE       TOWER EQUITY, LLC.
  OF DELAWARE, STATE OF FLORIDA,
  OFFICE OF THE ATTORNEY GENERAL,
  STATE OF FLORIDA, OFFICE OF
  FINANCIAL REGULATION, OFFICE OF
  THE GEORGIA SECRETARY OF STATE,      Case No.: 3:20-CV-2910-L
  STATE OF HAWAII, SECURITIES
  ENFORCEMENT BRANCH, IDAHO            Judge: Judge Sam A. Lindsay
  DEPARTMENT OF FINANCE, INDIANA
  SECURITIES COMMISSIONER, IOWA
  INSURANCE COMMISSIONER
  DOUGLAS M. OMMEN, OFFICE OF THE
  KANSAS SECURITIES COMMISSIONER,
  KENTUCKY DEPARTMENT OF
  FINANCIAL INSTITUTIONS, MAINE
  SECURITIES ADMINISTRATOR, STATE
  OF MARYLAND EX REL MARYLAND
  SECURITIES COMMISSIONER,
  ATTORNEY GENERAL DANA NESSEL
  ON BEHALF OF THE PEOPLE OF
  MICHIGAN, MISSISSIPPI SECRETARY
  OF STATE, NEBRASKA DEPARTMENT
  OF BANKING & FINANCE, OFFICE OF
  THE NEVADA SECRETARY OF STATE,
  NEW MEXICO SECURITIES DIVISION,
  THE PEOPLE OF THE STATE OF NEW
  YORK BY LETITIA JAMES, ATTORNEY
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  YORK, OKLAHOMA DEPARTMENT OF
  SECURITIES, SOUTH CAROLINA
  ATTORNEY GENERAL, SOUTH
  CAROLINA SECRETARY OF STATE,
  SOUTH DAKOTA DEPARTMENT OF
  LABOR & REGULATION, DIVISION OF
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  INSURANCE, COMMISSIONER OF THE
  TENNESSEE DEPARTMENT OF
  COMMERCE AND INSURANCE, STATE
  OF TEXAS, WASHINGTON STATE
  DEPARTMENT OF FINANCIAL
  INSTITUTIONS, WEST VIRGINIA
  SECURITIES COMMISSION, AND STATE
  OF WISCONSIN.

  Plaintiffs,

  v.

  TMTE, INC. a/k/a METALS.COM, CHASE
  METALS, INC., CHASE METALS, LLC,
  BARRICK CAPITAL, INC., LUCAS
  THOMAS ERB a/k/a LUCAS ASHER a/k/a
  LUKE ASHER, and SIMON BATASHVILI,

  Defendants;

  and

  TOWER EQUITY, LLC,

  Relief Defendant.


        1.      On September 22, 2020, Plaintiffs Commodity Futures Trading Commission,

 Alabama Securities Commission, State of Alaska, Arizona Corporation Commission, California

 Commissioner of Business Oversight, Colorado Securities Commissioner, State of Delaware,

 State of Florida, Office of the Attorney General and State of Florida, Office of Financial

 Regulation, Office of the Georgia Secretary of State, State of Hawaii, Securities Enforcement

 Branch, Idaho Department of Finance, Indiana Securities Commissioner, Iowa Insurance

 Commissioner Douglas M. Ommen, Office of the Kansas Securities Commissioner, Kentucky

 Department of Financial Institutions, Maine Securities Administrator, State of Maryland Ex Rel

 the Maryland Securities Commissioner, Attorney General Dana Nessel on Behalf of the People



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 of Michigan, Mississippi Secretary of State, Nebraska Department of Banking & Finance, Office

 of the Nevada Secretary of State, New Mexico Securities Division, The People of the State of

 New York by Letitia James, Attorney General of the State of New York, Oklahoma Department

 of Securities, South Carolina Attorney General and South Carolina Secretary of State, South

 Dakota Department of Labor & Regulation, Division of Insurance, Commissioner of the

 Tennessee Department of Commerce and Insurance, State of Texas, Washington State

 Department of Financial Institutions, West Virginia Securities Commission, and State of

 Wisconsin filed a Complaint for Injunctive Relief, Civil Monetary Penalties, and Other Equitable

 Relief against Defendants TMTE, Inc., d/b/a Metals.com, Chase Metals, LLC, Chase Metals,

 Inc., (collectively “Metals”), Barrick Capital, Inc. (“Barrick”) and their principals, Lucas

 Thomas Erb a/k/a Lucas Asher a/k/a Luke Asher (“Asher”), and Simon Batashvili (“Batashvili”)

 and Relief Defendant Tower Equity, LLC. (“Tower”) (Docket Entry (“D.E.”) #2).

        2.      Contemporaneously with the filing of the Complaint, Plaintiffs moved the Court

 on an emergency, ex parte basis, for an order, pursuant to Section 6c(a) of the Commodity

 Exchange Act (“CEA”), 7 U.S.C. § 13a-1 (2018) and in accordance with Federal Rule of Civil

 Procedure 65, that: 1) freezes the assets of Defendants and Relief Defendant, (2) grants the

 CFTC and the States immediate access to the books, records, and other documents of Defendants

 and Relief Defendant and the authority to inspect and copy such records; (3) appoints a

 temporary receiver; and (4) grants Plaintiffs’ motion for expedited discovery in advance of a

 preliminary injunction hearing. (D.E. # 4-6; 11-12; 16).

        3.      On September 22, 2020, the Court granted Plaintiffs’ motion for emergency relief

 and entered a Statutory Restraining Order (“SRO”) (D.E. #16). The SRO: (1) prohibits

 Defendants from withdrawing, transferring, removing, dissipating, and disposing of assets; (2)



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 prohibits Defendants from destroying, altering, or disposing of books, records, and other

 documents; (3) appoints Kelly Crawford of Scheef & Stone, LLP as temporary receiver for

 Defendants and Relief Defendant and (4) grants expedited discovery in advance of a preliminary

 injunction hearing. The SRO also set a hearing on preliminary injunction relief on October 6,

 2020 and directed that SRO remain in full force and effect until to October 6, 2020 at 5:00 pm.

        4.      On October 5, 2020, the Court continued the hearing on Plaintiffs’ application for

 a preliminary injunction to October 27, 2020 and directed that SRO remain in full force and

 effect until to October 27, 2020 at 5 p.m. (D.E. #148).

        5.      On September 24, 2020, Plaintiffs properly served TMTE, Inc., Chase Metals,

 LLC, Chase Metals, Inc., and Tower Equity. (D.E. # 49; 51-52; 54). On September 25, 2020,

 Plaintiffs properly served Barrick (D.E. #128). Defendants Metals and Barrick and Relief

 Defendant Tower, without admitting or denying the allegations in the Complaint, except for

 allegations relating to venue and the Court’s jurisdiction over the parties and over the subject

 matter of this action, to which Defendants Metals and Barrick and Relief Defendant Tower

 admit, consent to the entry of this Order for Preliminary Injunction (“Order”) as set forth herein.

        6.      Defendants Metals and Barrick and Relief Defendant Tower enter into this Order

 voluntarily, and no promise or threat has been made by the Plaintiffs, or any member, officer,

 agent, or representative of the Plaintiffs to induce Defendants Metals and Barrick and Relief

 Defendant Tower to consent to this Order.

        7.      In consideration of the foregoing, and based on the entire record in this case, the

 Court finds that there is good cause to believe that a preliminary injunction is proper in this case

 to preserve the status quo; prevent the withdrawal, transfer, removal, dissipation or disposal of

 assets; prevent the destruction, alteration, or disposal of books and records and other documents;



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 protect members of the public from loss and damage, and enable the Plaintiffs to fulfill their

 statutory duties in this civil enforcement action.

         8.      The Court hereby grants the Motion on the terms and conditions to which

 Plaintiffs and Defendants Metals and Barrick and Relief Defendant Tower have stipulated, as set

 forth below.

                                          I.      DEFINITIONS

 For the purposes of this Order, the following definitions apply:

         9.      The terms “funds, assets, or other property” encompass any legal or equitable

 interest in, right to, or claim to, any real or personal property, whether individually or jointly,

 directly or indirectly controlled, and wherever located, including but not limited to: chattels,

 goods, instruments, equipment, fixtures, general intangibles, effects, leaseholds, mail or other

 deliveries, inventory, checks, notes, accounts (including, but not limited to, bank accounts and

 accounts at other financial institutions), credits, receivables, lines of credit, contracts (including

 spot, futures, options, or swaps contracts), insurance policies, and all funds, wherever located,

 whether in the United States or outside the United States.

         10.     The term “document” and “electronically stored information” are synonymous in

 meaning and equal in scope to the usage of those terms in Fed. R. Civ. P. 34(a), and includes, but

 are not limited to, all writings, graphs, charts, photographs, sound recordings, images, and other

 data or other data compilations–stored in any medium from which information can be obtained

 or translated, if necessary, into reasonable usable form. The terms “document” and

 “electronically stored information” also refer to each and every such item in Defendants’ actual

 or constructive possession, including but not limited to: (i) all such items within the custody or

 control of any agents, employers, employees, or partners of the Defendants; and (ii) all items



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  which Defendants have a legal or equitable right to obtain from another person. A draft or non-

  identical copy is a separate item within the meaning of the term. A document also includes the

  file and folder tabs associated with each original and copy.

                                      II.      RELIEF GRANTED

  THE PARTIES AGREE AND IT IS HEREBY ORDERED that:

I.   Jurisdiction and Venue

         9.      Defendants Metals and Barrick and Relief Defendant Tower have been properly

  served with the Complaint and Summons and have consented to the entry of this Order.

         10.     The Court is authorized to enter a preliminary injunction and ancillary equitable

 relief against Defendants Metals and Barrick and Relief Defendant Tower pursuant to 7 U.S.C.

 §§ 13a-1, 13a-2 and the laws of the States.

         11.     This Court has jurisdiction over the parties and over the subject matter of this

 action pursuant to 28 U.S.C. § 1331 (2018) (federal question jurisdiction) and 28 U.S.C. § 1345

 (2018) (district courts have original jurisdiction over civil actions commenced by the United

 States or by any agency expressly authorized to sue by Act of Congress), as well as 28 U.S.C.

 § 1367(a) (supplemental jurisdiction over claims under the laws of the States).

         12.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

 (2018) (federal question jurisdiction) and 28 U.S.C. § 1345 (2018) (district courts have original

 jurisdiction over civil actions commenced by the United States or by any agency expressly

 authorized to sue by Act of Congress).

         13.     7 U.S.C. § 13a-1(a) (2018), authorizes the CFTC to seek injunctive and other

 relief against any person whenever it appears to the CFTC that such person has engaged, is




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   engaging, or is about to engage in any act or practice constituting a violation of any provision of

   the CEA or any rule, regulation, or order thereunder.

           14.     7 U.S.C. § 13a-2(1) (2018), authorizes the States to bring a suit in the district

   courts of the United States to seek injunctive and other relief against any person whenever it

   appears to the Attorney General and/or Securities Administrator of a State, or such other official

   that a State may designate, that the interests of the residents of the State have been, are being, or

   may be threatened or adversely affected because of violations of the CEA or CFTC Regulations.

           15.     Venue lies properly in this District pursuant to 7 U.S.C. § 13a-1(e) (2018),

   because Defendants transacted business in this District, and certain of the acts and practices in

   violation of the CEA, the CFTC Regulations, and State laws occurred, are occurring, or are about

   to occur within this District, among other places. Venue also lies properly in this District

   pursuant to 17 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions giving

   rise to the Plaintiffs’ claims occurred in this District.

           16.     The Parties waive the entry of findings of fact and conclusions of law for

   purposes of this Order pursuant to Rule 52 of the Federal Rules of Civil Procedure, and the Court

   accepts that waiver.


II.    Prohibitions from Violating the CEA, CFTC Regulations and the Laws of the States

           17.     Defendants Metals and Barrick and Relief Defendant Tower and their agents,

  servants, employees, assigns, attorneys, and persons in active concert or participation with them,

   including any successors thereof, who receive actual notice of this Order by personal service or

   otherwise, are preliminarily restrained and enjoined from directly or indirectly violating 7 U.S.C.

   § 9(1) and 17 C.F.R. § 1801.1(a)(1)-(3).




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        18.     Defendants Metals and Barrick and Relief Defendant Tower and their agents,

 servants, employees, assigns, attorneys, and persons in active concert or participation with them,

 including any successors thereof, who receive actual notice of this Order by personal service or

 otherwise, are preliminarily restrained and enjoined from directly or indirectly violating:

                    a. § 8-6-3(b) and (c), Code of Alabama (1975)

                    b. § 8-6-17(b)(2), Code of Alabama (1975)

                    c. § 8-6-17(a)(2), Code of Alabama (1975)

                    d. § 13A-6-195, Code of Alabama (1975)

                    e. Alaska Stat. § 45.50.471

                    f. Cal. Corp. Code, § 25230

                    g. Cal. Corp. Code § 25235

                    h. Cal. Corp. Code, § 29536

                    i. §§ 11-53-107(1)(a)-(c), C.R.S.

                    j. §§ 11-51-501(1)(a), (b) and (c), C.R.S.

                    k. Fla. Stat. § 501.204

                    l. Fla. Stat. § 517.275

                    m. Ga. Code Ann. § 10-5-32

                    n. Ga. Code Ann § 10-5-33

                    o. Ga. Code Ann. § 10-5-51

                    p. Ga. Code Ann. § 10-5A-2

                    q. Ga. Code Ann. § 10-5A-6

                    r. KRS 292.330(8)

                    s. KRS 292.320(1)

                    t. Md. Code, Corps. & Assn’s § 11-401(b)(1)

                    u. Md. Corps. & Assn’s § 11-402(b)(1)

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                    v. Md. Code, Corps. & Assn’s § 11-301(2)-(3);

                    w. Md. Code, Corps. & Assn’s § 11-302(a)(2)-(3), (c), and COMAR
                       02.02.05.03;

                    x. S.C. Code Ann. § 35-1-403 to 35-1-404

                    y. S.C. Code Ann. § 35-1-501(1)-(3) and § 35-1-502(a)

                    z. S.C. Code Ann. § 39-73-20

                    aa. S.C. Code Ann. § 39-73-60 (1)-(4)

                    bb. Tex. Rev. Civ. Stat. Ann. art. 581-12

                    cc. Tex. Rev. Civ. Stat. Ann. art. 581-32

         19.    Pending further order of the Court, Defendants Metals and Barrick and Relief

 Defendant Tower and their affiliates, agents, servants, employees, successors, assigns, attorneys,

 and all persons in active concert with them, directly or indirectly, are restrained and enjoined

 from:

                    a. Trading on or subject to the rules of any registered entity (as that term is
                        defined by 7 U.S.C. § 1a(40) (2018));

                    b. Entering into any transactions involving “commodity interests” (as that
                        term is defined in Regulation 1.3, 17 C.F.R. § 1.3), for accounts held in
                        the name of any Defendant or Relief Defendant or for accounts in which
                        any Defendant or Relief Defendant has a direct or indirect interest;

                    c. Having any commodity interests traded on any Defendants’ or Relief
                        Defendant’s behalf;

                    d. Controlling or directing the trading for or on behalf of any other person or
                        entity, whether by power of attorney or otherwise, in any account
                        involving commodity interests;

                    e. Soliciting, receiving, or accepting any funds from any person for the
                        purpose of purchasing or selling of any commodity interests;

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                          f. Applying for registration or claiming exemption from registration with the
                             CFTC in any capacity, and engaging in any activity requiring such
                             registration or exemption from registration with the CFTC except as
                             provided for in CFTC Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9);

                          g. Acting as a principal (as that term is defined in CFTC Regulation 3.1(a),
                             17 C.F.R. § 3.1(a)), agent, or any other officer or employee of any person
                             registered, exempted from registration, or required to be registered with
                             the CFTC except as provided for in 17 C.F.R. § 4.14(a)(9); and

                          h. Acting as a broker-dealer or investment adviser or associating with a
                             licensed broker-dealer or investment adviser, in violation of the laws of
                             the States.

                          i. Soliciting, receiving, or accepting any funds from any person for the
                             purpose of purchasing or selling securities or equities.

III.      Asset Freeze Order Prohibiting the Withdrawal, Transfer, Removal, Dissipation, and
          Disposal of Assets

              20.     The SRO (D.E. #16) shall remain in full force and effect.

              21.     The injunctive provisions of this Order shall be binding upon Defendants Metals

       and Barrick and Relief Defendant Tower , and upon any person acting in the capacity of agents,

       servants, employees, assigns, attorneys, and persons in active concert or participation with them,

       including any successors thereof, of Defendants Metals and Barrick and Relief Defendant Tower,

       and upon any person who receives actual notice of this Order by personal service or otherwise

       insofar as he or she is acting in active concert or participation with Defendants Metals and

       Barrick and Relief Defendant Tower.

              22.     Defendants Metals and Barrick and Relief Defendant Tower and their agents,

       servants, employees, assigns, attorneys, and persons in active concert or participation with them,



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 including any successor thereof, who receive actual notice of this Order by personal service or

 otherwise, are immediately restrained and enjoined, except as otherwise ordered by this Court,

 from directly or indirectly withdrawing, transferring, removing, dissipating, or otherwise

 disposing of any of their funds, assets, or other property, wherever located, including the

 Defendants Metals’ and Barrick’s and Relief Defendant Tower’s funds, assets, or other property

 held outside the United States, in accordance with the Court’s SRO and this Order.

        23.     At the request of the Receiver, Defendants Metals and Barrick and Relief

 Defendant Tower and any other person who has possession, custody, or control of any of

 Defendants Metals’ and Barrick’s and Relief Defendant Tower’s assets shall transfer possession

 of all funds, assets or other property subject to this Order to the Receiver in accordance with

 SRO and this Order.

        24.     The funds, assets, or other property affected by this Order shall include both

 existing funds, assets, or other property, and funds, assets, or other property acquired after the

 effective date of this Order.

 IV.    Maintenance of and Access to All Records That Relate to the Business Activities and
        Business and Personal Finances

        25.     Defendants Metals and Barrick and Relief Defendant Tower are restrained from

 directly or indirectly destroying, altering, or disposing of, in any manner, any records that relate

 or refer to the business activities or business or personal finances of any Defendants Metals and

 Barrick and Relief Defendant Tower in accordance with the Court’s SRO and this Order.

        26.     Representatives of the Plaintiffs shall, with 24 hours’ notice, be allowed access to

 inspect the records that relate or refer to business activities and business and finances of

 Defendants Metals and Barrick and Relief Defendant Tower, including, but not limited to, both

 hard-copy documents and electronically stored information, wherever they may be situated and

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 whether they are in the possession of the Defendants Asher and Batashvili or others. To ensure

 preservation and facilitate meaningful inspection and review of records, the Defendants Metals

 and Barrick and Relief Defendant Tower shall allow representatives of the Plaintiffs to make

 copies of said documents and electronically stored information, and if on-site copying of

 documents and electronically stored information is not practicable, representatives may make

 such copies off-site. After any such off-site copying, Plaintiffs shall promptly return the original

 documents and devices upon which electronic information is stored.

        21.     To further facilitate meaningful inspection and review, Defendants Metals and

  Barrick and Relief Defendant Tower shall promptly provide Plaintiffs with:

                    a. the location of all records relating or referring to the business activities
                        and business and finances of the Defendants Metals and Barrick and
                        Relief Defendant Tower;

                    b. all identification numbers and other identifying information for websites,
                        cloud storage services, email and smartphone accounts, and all accounts at
                        any bank, financial institution or brokerage firm (including any
                        introducing broker or futures commission merchant) owned, controlled or
                        operated by the Defendants Metals and Barrick and Relief Defendant
                        Tower, or to which the Defendants Metals and Barrick and Relief
                        Defendant Tower have access; and

                    c. all passwords to, and the location, make and model of, all computers
                        and/or mobile electronic devices owned and/or used by the Defendants
                        Metals and Barrick and Relief Defendant Tower in connection with their
                        business activities and business and finances.

        22.     When inspecting records that are subject to this Order, including those contained

 on computer(s) and/or other electronic device(s), Plaintiffs should undertake reasonable

 measures to prevent review of Defendants Metals and Barrick and Relief Defendant Tower

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 privileged communications by Plaintiffs’ attorneys and other staff who are part of the litigation

 team in this matter. Moreover, the Defendants Metals and Barrick and Relief Defendant Tower

 (or their counsel) shall promptly contact Plaintiffs’ counsel to assert any claims of privilege or

 other legal objection relating to the contents of any records that are subject to this Order and

 promptly cooperate with Plaintiffs’ counsel to develop reasonable protocols to isolate and

 prevent disclosure of claimed privileged materials to Plaintiffs’ attorneys and other staff who are

 part of the litigation team in this matter. However, nothing herein shall excuse Defendants

 Metals and Barrick and Relief Defendant Tower from full and immediate compliance with this

 Court’s Order permitting Plaintiffs to inspect the books and records which relate to the

 Defendants Metals’ and Barrick’s and Relief Defendant Tower’s business activities and their

 business and finances.

        23.     Nothing herein shall preclude Plaintiffs from providing materials obtained from

 Defendants Metals and Barrick and Relief Defendant Tower to any other government agency

 pursuant to a lawful access request by such agency.

  V.    Appointment of Receiver

        27.     Kelly Crawford, previously appointed by the Court as Temporary Receiver

 pursuant to the SRO, is appointed Receiver with the full powers of an equity receiver for

 Defendants and Relief Defendant and their affiliates or subsidiaries owned or controlled by

 Defendants or Relief Defendant (hereinafter referred to as the “Receivership Defendants”), and

 of all records, and all funds, properties, premises, accounts, income, now or hereafter due or

 owing to the Receivership Defendants, and other assets directly or indirectly owned, beneficially

 or otherwise, by the Receivership Defendants.




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          28.    The Receiver shall be the agent of this Court in acting as Receiver under this

 Order.

          29.    The directions, authorizations, duties, and powers of the Temporary Receiver

 under the SRO are granted in full to the Receiver, Kelly Crawford, and incorporated in full

 herein as part of the Order.

 VI.      Cooperation with the Receiver

          30.    Defendants Metals and Barrick and Relief Defendant Tower and all other persons

 or entities served with a copy of this order shall cooperate fully with and assist the Receiver.

 This cooperation and assistance shall include, but not be limited to, providing any information to

 the Receiver that the Receiver deems necessary to exercising the authority as provided in this

 Order; providing any password required to access any computer or electronic files in any

 medium; and discharging the responsibilities of the Receiver under this Order, and advising all

 persons who owe money to the Receivership Defendants that all debts should be paid directly to

 the Receiver.

 VII.     Turning Over Property to the Receiver

          31.    Upon service of this Order, and to the extent the Defendants Metals and Barrick

 and Relief Defendant Tower have not done so pursuant to the SRO, Defendants Metals and

 Barrick and Relief Defendant Tower, and any other person or entity served with a copy of this

 Order, shall immediately or within such time as permitted by the Receiver in writing, deliver

 over to the Receiver, including but not limited to:

                    a. Possession and custody of all funds, assets, property, and all other assets,
                        owned beneficially or otherwise, wherever situated, of the Receivership
                        Defendants;

                    b. Possession and custody of records of the Receivership Defendants in

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                        connection with their business activities and business and personal
                        finances, including but not limited to, all books and records of accounts,
                        all financial and accounting records, balance sheets, income statements,
                        bank records (including monthly statements, canceled checks, records of
                        wire transfers, and check registers), client lists, title documents and other
                        records of the Receivership Defendants;

                    c. Possession and custody of all funds and other assets belonging to members
                        of the public now held by the Receivership Defendants;

                    d. All keys, computer or cloud computing passwords, entry codes, and
                        combinations to locks necessary to gain or to secure access to any of the
                        assets or records of the Receivership Defendants, including but not limited
                        to, access to the Receivership Defendants’ business premises, means of
                        communication, accounts, computer systems, mobile electronic devices or
                        other property; and

                    e. Information identifying the accounts, employees, properties or other assets
                        or obligations of the Receivership Defendants.

VIII.   Persons Bound by This Order

        32.     This Order is binding on any person who receives actual notice of this Order by

 personal service or otherwise and is acting in the capacity of an officer, agent, servant, employee,

 or attorney of Defendants or Relief Defendant, or is in active concert or participation with the

 Defendants or Relief Defendant.

 IX.    Stay on Actions Against the Receivership Defendants

        33.     Except by leave of the Court, during the pendency of the receivership ordered

 herein, Defendants Metals and Barrick and Relief Defendant Tower, and all other persons and

 entities are stayed from taking any action (other than the present action by Plaintiffs) to establish

 or enforce any claim, right or interest for, against, on behalf of, in, or in the name of, the

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 Receivership Defendants, the Receiver, receivership assets, or the Receiver’s duly authorized

 agents acting in their capacities as such, including but not limited to, the following actions:

                    a. Petitioning, or assisting in the filing of a petition that would cause the
                        Receivership Defendants to be placed in bankruptcy;

                    b. Commencing, prosecuting, litigating or enforcing any suit or proceeding
                        against any of the Receivership Defendants, or any of their subsidiaries or
                        affiliates, except that such actions may be filed to toll any applicable
                        statute of limitations;

                    c. Commencing, prosecuting, continuing or entering any suit or proceeding
                        in the name or on behalf of any of the Receivership Defendants, or any of
                        their subsidiaries or affiliates;

                    d. Accelerating the due date of any obligation or claimed obligation,
                        enforcing any lien upon, or taking or attempting to take possession of, or
                        retaining possession of, property of the Receivership Defendants, or any of
                        their subsidiaries or affiliates, or any property claimed by any of them, or
                        attempting to foreclose, forfeit, alter or terminate any of the Receivership
                        Defendants’ interests in property, including without limitation, the
                        establishment, granting, or perfection of any security interest, whether
                        such acts are part of a judicial proceeding or otherwise;

                    e. Opening all mail directed to or received by or at the offices or post office
                        boxes of the Receivership Defendants, or any of their subsidiaries or
                        affiliates, and to inspect all mail opened prior or subsequent to the entry of
                        this Order to determine whether items or information therein fall within
                        the mandate of this Order;

                    f. Using self-help or executing or issuing, or causing the execution or
                        issuance of, any court attachment, subpoena, replevin, execution or other
                        process for the purpose of impounding or taking possession of or
                        interfering with, or creating or enforcing a lien upon any property,
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                        wherever located, owned by or in the possession of the Receivership
                        Defendants, or any of their subsidiaries or affiliates, or the Receiver, or
                        any agent of the Receiver; and

                    g. Doing any act or thing whatsoever to interfere with the Receiver taking
                        control, possession or management of the property subject to the
                        receivership, or to in any way interfere with the Receiver or to harass or
                        interfere with the duties of the Receiver; or to interfere in any manner with
                        the exclusive jurisdiction of this Court over the property and assets of the
                        Receivership Defendants, or their subsidiaries or affiliates.

        34.     Provided, however, that nothing in this section shall prohibit any federal or state

 law enforcement or regulatory authority from commencing or prosecuting an action against the

 Receivership Defendants.

  X.    Bond Not Required of Plaintiffs or the Receiver

        35.     As Plaintiffs CFTC and the States have made a proper showing under 7 U.S.C.

 §13a-1(b) and they are not required to post any bond in connection with this Order. The

 Receiver similarly is not required to post bond.

 XI.    Force and Effect

        36.     This Order shall remain in full force and effect until further order of this Court,

 and that this Court retains jurisdiction of this matter for all purposes.


 IT SO ORDERED, at Dallas, Texas, on this 14th day of October, 2020, at 4:00 p.m.



                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




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 CONSENTED TO AND APPROVED BY DEFENDANTS AND RELIEF DEFENDANTS:




 Kelly Crawford, Temporary Receiver     Date: 10/9/2020


 Approved as to form:




                                         Dated: 10/9/2020
 Peter Lewis
 Counsel to the Receiver

 CONSENTED TO AND APPROVED BY PLAINTIFFS:



 Dated: October 8, 2020
                                      By: /s/ JonMarc P. Buffa

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